EXHIBIT A
                  Deposition of:
         Salvatore D. Fili , Esq.
                  July 22, 2021


                 In the Matter of:

Ledergerber, Jeffrey et al. v. Blubaugh,
             Justin et al.




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1              IN THE UNITED STATES DISTRICT COURT

2                  FOR THE DISTRICT OF MARYLAND

3

4    JEFFREY LEDERGERBER, ET AL.,

5          Plaintiffs,                                  Case No.

6    vs.                                                1:20-cv-01208-DLB

7    CORPORAL JUSTIN L. BLUBAUGH,

     ET AL.,

8

           Defendants.

9

10   ________________________________/

11

12               Pursuant to Notice, the deposition of

13   SALVATORE D. FILI, ESQUIRE, was taken on Thursday, July

14   22nd, 2021, beginning at 10:22 a.m. at the Harford

15   County State's Attorney's Office, 20 West Courtland

16   Street, Bel Air, Maryland 21014, before Kathryn M.

17   Benhoff, Notary Public.

18

19

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1              A P P E A R A N C E S

2

3    ON BEHALF OF THE PLAINTIFFS:

4         DAVID C.M. LEDYARD, ESQUIRE

5         Ledyard Law, LLC

6         1 North Charles Street - Suite 1215

7         Baltimore, Maryland            21201

8         david@ledyardlaw.com

9    ON BEHALF OF THE DEFENDANTS BLUBAUGH, GAHLER,

10   HARFORD COUNTY SHERIFF'S OFFICE:

11        G. ADAM RUTHER, ESQUIRE

12        Rosenberg Martin Greenberg, LLP

13        25 South Charles Street - Suite 2115

14        Baltimore, Maryland            21201

15        aruther@rosenbergmartin.com

16        MELISSA LAMBERT, ESQUIRE

17        Harford County Department of Law

18        220 South Main Street

19        Bel Air, Maryland          21014

20   ON BEHALF OF THE DEFENDANT STATE OF MARYLAND:

21        WENDY L. SHIFF, ASSISTANT ATTORNEY GENERAL




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1         Civil Division

2         Office of the Attorney General

3         State of Maryland

4         200 Saint Paul Place

5         Baltimore, Maryland              21202

6         wshiff@oag.state.md.us

7    ALSO PRESENT:

8         Jeffrey Ledergerber

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1                             I N D E X

2    WITNESS:

3    SALVATORE D. FILI, ESQUIRE

4    EXAMINATION:

5    By Mr. Ledyard                                    6/141

6    By Mr. Ruther                                         l34

7

8    Exhibits (Attached):

9    Exhibit 1 - Exhibit 1                                    18

10   Exhibit 2 - Request for Discovery & Inspection           44

11        - Charlotte Freda Wolf

12   Exhibit 3 - Request for Discovery & Inspection           44

13        - Edward Thomas Wolf

14   Exhibit 4 - Request for Discovery & Inspection           44

15        - James Franklin Baker

16   Exhibit 5 - Request for Discovery & Inspection           44

17        - Jeffrey Andrew Ledergerber

18   Exhibit 6 (Retained) - Letter - 3/23/21                  51

19   Exhibit 7 - Transcript of Proceedings - 3/2/18           57

20   Exhibit 8 - Transcript of Proceedings - 3/1/18           85

21   Exhibit 9 - E-Mails - 3/21/17-3/22/17                    93




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1    Exhibit 10 - E-Mails - 1/15/19                      110

2    Exhibit 11 - E-Mails - 3/16/18                      112

3    Exhibit 12 - E-Mails - 3/21/19 & 4/2/19             114

4    Exhibit 13 - E-Mails - 5/31/19                      115

5    Exhibit 14 - E-Mail with Attachment - 3/25/17       118

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1                 IT IS HEREBY STIPULATED AND AGREED that the

2    reading and signing of this deposition are not waived.

3                   SALVATORE D. FILI, ESQUIRE,

4         having been duly sworn, testified as follows:

5                         E X A M I N A T I O N

6    BY MR. LEDYARD:

7         Q       Could you please state your name and spell

8    it for the record?

9         A       Who are you?

10        Q       I'm David Ledyard, attorney for the

11   Plaintiff.

12        A       Okay.     And you want me to do what?

13        Q       Please state and spell your name for the

14   record.

15        A       Salvatore D. Fili, S-A-L-V-A-T-O-R-E,

16   middle initial D as in David -- that's not my name,

17   that's just a reference -- and my last name is Fili,

18   F-I-L-I.

19        Q       And what's your business address?

20        A       20 West Courtland Street, Bel Air,

21   Maryland 21014, Office of the State's Attorney for




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1    Harford County.

2              MS. SHIFF:        I just want to put a statement

3         on the record that when we agreed to conduct

4         this deposition live, I was advised that

5         everyone would be fully vaccinated, and

6         Mr. Ledergerber is present.                 He has

7         respectfully advised that he is not fully

8         vaccinated.      Under those circumstances, we

9         would have, I would have asked to conduct this

10        deposition with his participation either

11        remotely or our participation remotely.

12        Because we're all here, I am going forward, but

13        I hope that no one in the room, including

14        Mr. Ledergerber, gets a case of COVID, but that

15        I believe we went forward in person under false

16        pretenses or that as a courtesy, we should have

17        been advised that Mr. Ledergerber wanted to

18        participate at this deposition and given the

19        choice to convert the deposition to a remote

20        proceeding.

21             I feel like there has been some -- I don't




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1    know whether you knew, Mr. Ledyard, that your

2    client was not fully vaccinated until this

3    morning, but I think it would have been

4    appropriate to share that and let everyone here

5    make the decision whether or not to participate

6    live, and I think in these times of uncertainty

7    where this morning the news is that if you are

8    not fully vaccinated, you are more likely than

9    not guaranteed to get the COVID disease.            I

10   have had COVID.     It is unpleasant, and I don't

11   wish to get it again.         I don't wish to

12   jeopardize the lives of my family members and

13   others, and I think at a minimum, it was

14   disrespectful that we were not so advised.

15   Having said that, you may continue.

16   Q    Thank you.

17        MR. RUTHER:      If I may, Mr. Fili, if you

18   want one, I have a clean disposable mask if

19   you'd like to wear it.

20   A    That's okay.

21        MR. RUTHER:      Okay.




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1            Q      So how long have you worked for Harford

2    County State's Attorney's Office?

3            A      Since June 28 of 2004.

4            Q      And what's your role at the Harford County

5    State's Attorney's Office?

6            A      I'm an Assistant State's Attorney in the

7    Felony Division.

8            Q      Have you always been in the Felony

9    Division at the State's Attorney's Office for

10   Harford County?

11           A      Technically, yes.             Before Al Peisinger,

12   the current elected State's Attorney, took over,

13   felony attorneys were assigned a mix of misdemeanor

14   and felony cases, but when Peisinger came in, he

15   said we're going to separate the wheat from the

16   chaff and the senior-most attorneys will be assigned

17   to the Felony Division, and he picked the ones that

18   would be, would henceforth get only felony cases,

19   but I've been doing felony cases ever since I came

20   here.       In fact, the first case I did was a murder.

21           Q      Okay.     And before 2004, where did you




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1    work?

2            A      Baltimore City State's Attorney's Office

3    from January 3rd, 1984, until June 25th, 2004.

4            Q      And what did you do at the Baltimore City

5    State's Attorney's Office?

6            A      I spent 21 months in the Juvenile Division

7    when I started.       Then I was transferred in September

8    of, I guess that would be September of 2000 and --

9    2000.       1986, pretty sure, to the Misdemeanor Jury

10   Trial Division, and then on March 23rd of 1987, I

11   was assigned to the Narcotics Investigation

12   Division, where we did investigations on middle and

13   upper level drug dealers.              I was there from March

14   23rd, 1987, until I retired.                For my last seven

15   years, I was chief of the division.                For the seven

16   years before that, I was deputy chief of the

17   division, and for whatever time, I guess that would

18   be maybe another three years, I was just a line

19   assistant until I was promoted, and I tried not only

20   drug felonies but several murders while I was there.

21           Q      How long did you do felony work, would you




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1    say, overall in that time period at the Baltimore

2    City State's Attorney's Office?

3            A   From March 23rd, 1987, until June 25th,

4    2004.

5            Q   Did your work at the Baltimore City

6    State's Attorney's Office involve grand jury

7    proceedings?

8            A   Yes.

9            Q   How often would you conduct grand jury

10   proceedings at the Baltimore City State's Attorney's

11   Office?

12           A   I personally?

13           Q   Yes.

14           A   It depended on what my caseload was.         My

15   caseload went down as I went higher up in the ranks

16   in terms of actual cases that I had to handle to go

17   to court with.      When I was a line assistant, I was

18   in there several times a week, and then I had less

19   cases, but I still had cases even when I was a

20   deputy and a division chief, and while I was

21   division chief, I was asked to overhaul the grand




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1    jury system because Pat Jessamy, who was the State's

2    Attorney at the time, wanted to indict every single

3    drug felony in Baltimore City.                  Prior to that, we

4    were only indicting the ones that were the most

5    egregious that either involved violence or very high

6    level drug dealing.       The other ones were handled by

7    preliminary hearing in the District Court, so I was

8    asked to basically recreate the grand jury system in

9    Baltimore City, so I did.

10             MS. SHIFF:        Mr. Fili, I'm going to

11        recommend that you try to limit your response

12        to the question that's asked and not --

13        A    Okay.

14             MS. SHIFF:        Okay.

15        Q    And with the grand jury work at Baltimore

16   City State's Attorney's Office, would you handle

17   multiple cases each time you went in front of the

18   grand jury or just one at a time?

19        A    Usually multiple.

20        Q    During your time at the Baltimore City

21   State's Attorney's Office, approximately how many




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1    cases did you handle in front of a grand jury?

2         A      Tens of thousands.

3         Q      How about at the Harford County State's

4    Attorney's Office, have you handled grand jury

5    proceedings?

6         A      Yes.

7         Q      And can you kind of walk us through your

8    experience with the grand jury work at the Harford

9    County State's Attorney's Office?

10               MS. SHIFF:        I'm sorry.           I missed the

11        question.

12        Q      Yeah.     Could you walk us through your

13   experience with the grand jury --

14        A      In what regard?            That's kind of a vague

15   question.

16        Q      Sure.     Well, let's say starting in 2004,

17   how often would you appear in front of a grand jury?

18        A      Our grand jury sits every other Tuesday.

19        Q      And when you appear before the grand jury,

20   do you appear with just one case or with multiple

21   cases?




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1            A   Usually multiple.

2            Q   And since you've been at the Harford

3    County State's Attorney's Office, has there ever

4    been a time when you haven't handled grand jury

5    work?

6            A   Yeah, whenever I'm not in the grand jury.

7    I don't understand what you're asking me.

8            Q   I guess any time your position didn't

9    require you to go in front of a grand jury.

10           A   No, there's never been a time when I

11   wasn't in a position to do grand jury work.

12           Q   When you appear in front of a grand jury

13   as part of the Harford County State's Attorney's

14   Office, is it always your case or do you sometimes

15   stand in for another Assistant State's Attorney?

16           A   Before Mr. Peisinger came, you did your

17   own cases unless you were picking up a few other

18   cases to cover for somebody who was otherwise

19   committed and couldn't be there.                Since

20   Mr. Peisinger has come, we go to the grand jury once

21   a year and one attorney presents everybody's cases.




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1    You pick a day out of the grand jury calendar that

2    you want to commit to, and that's the way they do

3    it.

4            Q       Okay.     And just to be clear for the

5    record, Mr. Peisinger came into office in January of

6    2018?

7                    MS. SHIFF:        '19.

8            Q       2019.

9            A       Yeah, I really don't remember the exact --

10                   MS. SHIFF:        He was elected in '18.           I'll

11           give you that information.                    He was elected in

12           November of '18 and was invested in January of

13           2019.

14           Q       Have you ever been deposed before?

15           A       No.

16           Q       Okay.     I didn't go through my basic kind

17   of ground rules or explanation of it, but I'll ask

18   you questions.           You'll provide answers.              My job is

19   to ask questions that you understand.                       Your job is

20   not to try and guess what I'm trying to ask, so --

21           A       Stop.




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1          Q    Yep.

2          A    I have never been deposed, but I have

3    conducted depositions, so I know how they work.

4          Q    Okay.     I just want to make sure we're on

5    the same page, so --

6          A    Okay.

7          Q    -- if you don't understand a question I

8    ask, please let me know.

9          A    Don't worry.

10         Q    Okay.     And --

11              MS. SHIFF:        He's done that so far.

12         Q    And by the same token, if you answer a

13   question I ask, I'm going to assume you understood

14   it.   Is that fair?

15         A    I guess.

16         Q    Okay.     Well, is there anything going on in

17   your life that would affect your ability to testify

18   fully, completely truthfully?

19              MS. SHIFF:        I'm going to object.     Is there

20         anything going on is an inappropriate question.

21         He's taken the oath to testify truthfully




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1         today.        If you want to ask a more appropriately

2         phrased question, you can ask, but I don't

3         think that's the way the question should be

4         worded, so I object, and we'll request that you

5         re-ask your question.

6         Q       Okay.     Is there anything that's going to

7    distract you from giving me your full time and

8    attention while answering these questions?

9         A       No.

10        Q       Okay.     Did you review any documents in

11   preparation for your deposition today?

12        A       No.

13        Q       Did you speak to anyone besides your

14   attorney in preparation for your deposition today?

15        A       No.

16        Q       Did you do anything else to prepare for

17   your deposition today?

18        A       No.

19        Q       Okay.     I'm just going to mark this as

20   Exhibit 1, which is nice because it's labeled

21   Exhibit 1.




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1              (Exhibit 1 marked.)

2    BY MR. LEDYARD:

3         Q    If you could take a look at Exhibit 1.

4    Let me know when you're finished.

5         A    Okay.

6         Q    Okay.     Exhibit 1 is a nine-page document.

7    At the top, it's entitled Document 28-2.           It has

8    been filed in this case.           Are you familiar with the

9    contents of Exhibit 1?

10        A    Just a second.           So you're counting the

11   cover page as one of the nine pages?

12        Q    That's correct.

13        A    Okay.     I'm somewhat familiar with these

14   pages.

15        Q    Okay.     One of the instructions I give and

16   I didn't give it to you, but I'm going to give it

17   now is I'm not here to trick you, fool you, put

18   words in your mouth, so if you ever think I'm doing

19   that, please let me know.

20        A    Are you feeling guilty about something?

21        Q    No.




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1         A      Then that's not necessary.

2         Q      Okay.

3         A      And I want to correct the record.                  I've

4    never seen the cover sheet before.

5         Q      Okay.     That's correct.              Okay.   So these

6    are indictments in the case we're here for today; is

7    that correct?

8         A      Not sure what the cases we're here for

9    today.   You'd have to tell me that.                  You're

10   Plaintiffs' counsel.

11        Q      Sure.     So we can, we can go through this.

12   So there's a case, State of Maryland vs. Jeffrey

13   Andrew Ledergerber.         There's an indictment for that

14   case in Exhibit 1?

15        A      I thought the case we're here for today

16   was a Federal lawsuit you filed against Justin

17   Blubaugh.

18        Q      That's correct.

19        A      Okay.     But you want to discuss these old

20   State cases?

21        Q      That's correct.




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1         A       Why didn't you just say that?

2         Q       That's fine.         That's what we're doing.          So

3    looks like page 3 is an indictment against Jeffrey

4    Andrew Ledergerber?

5         A       It's a copy, yes.

6         Q       Okay.     Is this a fair and accurate copy of

7    the indictment in this, in that case?

8         A       I would have to take your word for it

9    because as I just answered, I didn't review any

10   documents in preparation for this deposition.                  Is it

11   certified by the Clerk?

12        Q       It has a date on it, I mean.

13        A       There's a date.            Is it true tested or

14   certified?

15        Q       Well, let me ask you this.              Is there any

16   reason to think this is not a true and accurate copy

17   of the indictment?

18        A       I don't know what to think.              You handed me

19   this document and are making allegations about it.

20   You're Plaintiffs' attorney.                 You're the one that's

21   supposed to prepare for this deposition.                 You've




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1    handed me documents.          They look like copies of

2    indictments.    I can't tell you whether they're

3    genuine or not.

4         Q      Okay.     Did you prepare indictments in a

5    case against Jeffrey Andrew Ledergerber?

6         A      Yes, I certainly did.

7         Q      And you typed those up on a Microsoft Word

8    document?

9         A      I didn't type anything.                I have a

10   paralegal who drafts the indictment.                  I review it

11   prior to its presentation, which I did.

12        Q      And you indicted Jeffrey, or you had a

13   grand jury indict Jeffrey Ledergerber back in looks

14   like March of 2017?

15        A      Are you telling me or asking me?

16        Q      I'm asking you.

17        A      I don't remember the exact date.

18        Q      Okay.     But was it in March of 2017?

19        A      Possibly, because I remember it was March

20   of 2017 when I made up the e-mail to send to the

21   paralegal asking for the charges that I wanted on




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1    the indictment.

2         Q    Okay.     Can you look at page 2 of 9?

3         A    Yes.

4         Q    What is that document?

5         A    Well, it says it's a warrant and it looks

6    like a copy of a warrant, but I've never seen that.

7    I don't generally look at the warrants when they're

8    obtained by the grand jury.             The paralegal handles

9    all of that.     I'm not even sure if there's a copy of

10   it in my file.     I really don't think I've ever seen

11   this document before.         I could be mistaken, but I

12   don't think I have.

13        Q    Okay.     Is a warrant such as the one on

14   page 2 typically issued after a grand jury

15   indictment?

16        A    If the person has not heretofore been

17   charged with the crimes, generally, most of the

18   time, yes, because when you're taking felonies to

19   the grand jury, they're usually serious crimes.

20        Q    Okay.     And going back to page 3, does this

21   appear to be the indictment secured against Jeffrey




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1    Andrew Ledergerber?

2         A      It looks like it, yeah.

3         Q      Okay.     Do you have any reason to think

4    it's not?

5         A      I don't know.          I don't have enough

6    information to make that decision.

7         Q      What information would you need to make

8    that decision?

9         A      Well, like I said, a certification from

10   the Clerk would help.

11        Q      Okay.     Besides a certification from the

12   Clerk, anything else that you would need?

13        A      Yeah, I'd need to -- well, I'd like to see

14   the original indictment, compare it.

15        Q      Okay.     Besides looking at the original,

16   anything else you would need?

17        A      No.

18        Q      Do you have any reason to believe that

19   this indictment I'm showing you has been altered --

20        A      I'm not going to keep asking the same

21   question, or answering the same question.




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1            Q    Do you have any reason --

2            A    It looks like the indictment.              I don't

3    know if it's an exact copy.

4            Q    Okay.     Page 5.        Does that look like an

5    indictment against Charlotte --

6            A    Same answer as the previous indictment.

7            Q    Okay.     How about page 7 for Edward Thomas

8    Wolf?

9            A    Same answer as previous.

10           Q    And finally, page 9?

11           A    Same answer as previous.

12           Q    Okay.

13                MS. SHIFF:        Are you finished with Exhibit

14           1?

15           Q    Yes.

16                MS. SHIFF:        Okay.       Thank you.

17           Q    Are you familiar with the concept of

18   probable cause?

19           A    Is that -- sorry.             Yes.

20           Q    Are you familiar with the concept of

21   beyond a reasonable doubt?




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1         A    Yes.

2         Q    Could you please describe to me what

3    probable cause is?

4         A    I don't think I can make a bright line

5    definition of probable cause.               You'll have to ask

6    the Supreme Court.

7         Q    Okay.     Could you make a definition of

8    beyond a reasonable doubt?

9         A    I would suggest you read the Maryland

10   Pattern Jury Instruction on that.

11        Q    Would you agree that more evidence is

12   needed to prove beyond a reasonable doubt vs.

13   probable cause?

14        A    Yes.

15        Q    Can you think of a time where less

16   evidence was provided in a trial that you've handled

17   than was provided to a grand jury to secure an

18   indictment?

19             MR. RUTHER:         Objection.

20        A    Yeah, what kind of question is that?

21        Q    Yeah, I'm just asking if you can recall a




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1    case where you presented less evidence to a jury to

2    convince them beyond a reasonable doubt than you did

3    to a grand jury in the same case just to secure a

4    indictment for probable cause.

5                 MR. RUTHER:       Objection.

6                 MS. SHIFF:      And don't give the name of the

7         case.     It's either a yes or no question.

8         Q       That's fair.

9         A       All right.      Let me see if I understand

10   what you're asking me.          You want to know if I ever

11   had a case that went to trial where the evidence

12   presented at trial was less than what was presented

13   to the grand jury.

14        Q       For the concept of beyond a reasonable

15   doubt and probable cause.

16        A       Right, criminal trial.

17        Q       That's correct.

18        A       Right.   Well, that's sort of a useless

19   question.

20                MS. SHIFF:      There wouldn't be a grand jury

21        in a civil case, right?




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1         Q      Ah, yeah.     Okay.       That's great.       You can

2    answer.

3         A      That's really, that question doesn't

4    really arrive at any useful place because you could

5    have overwhelming evidence in the grand jury, go to

6    trial, have one piece of that overwhelming evidence

7    drop out for whatever reason, a witness dies, is

8    unavailable, you know, evidence spoliates on its

9    own, like it goes bad and it's no longer reliable,

10   and still have proof beyond a reasonable doubt.                    In

11   other words, your question the way it's presented

12   doesn't really -- it's useless.                 No offense.

13        Q      Well, you answered sort of a hypothetical

14   question.    My --

15        A      You're asking me --

16        Q      -- my question was, can you recall a case

17   in which that happened?

18        A      Plenty of cases.          There's plenty of cases

19   where you have proof beyond a reasonable doubt and

20   by the time you get to trial, there may be one of

21   the pieces missing, but it's still proof beyond a




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1    reasonable doubt.            That's what I'm trying to tell

2    you.        That doesn't mean anything, really.

3            Q       How many cases?

4                    MS. SHIFF:        Objection.

5            A       I don't know.          I've got a career of 38

6    years.        I've tried hundreds of cases.            I can't

7    remember every one of them.

8            Q       Can you recall one of them?

9                    MS. SHIFF:        Don't give him the name.

10           A       No, I can't recall any specific case.               I'd

11   have to have a lot more time to think about it.

12           Q       Okay.     Would there be any reason not to

13   tell a petit jury something that you tell a grand

14   jury?

15                   MR. RUTHER:         Objection.

16                   MS. SHIFF:        Objection.

17           Q       You can answer.

18                   MS. SHIFF:        He can answer yes or no.

19           A       I'm not gonna.           My lawyer objected.     Let

20   the judge rule on it.

21           Q       That's not how it works.




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1                 MS. SHIFF:        Well, you can answer the

2         question.        I'm objecting because it's not

3         privileged, so I have to allow you to answer.

4         A       Well, that's sort of another inane

5    question, and please don't take that the wrong way,

6    because hearsay's admissible in the grand jury but

7    not at trial.

8         Q       Okay.     Any other reason you can think of?

9         A       I mean, if you want me to sit here all day

10   and think of --

11                MS. SHIFF:        Yeah, I'm going to object.

12        A       Yeah, that's not productive.

13        Q       Okay.     So you can't think of any other

14   reason?

15                MS. SHIFF:        Objection.            That's not what he

16        said.

17        A       I'm not going to.

18        Q       Okay.     Well, I'd like an answer to the

19   question, then.

20                MS. SHIFF:        Move on.            He said he's not

21        going to.




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1         A      Not going to answer that question.

2         Q      So the witness is refusing to answer the

3    question?

4                MS. SHIFF:        Yes.

5         Q      Okay.     And are you going to instruct him

6    to answer the question?

7                MS. SHIFF:        No.      He's already answered

8         your question I think time and time again, so I

9         think it would be best if you moved on.

10        Q      Okay.     The question is, is there any

11   reason not to tell a jury, a petit jury something

12   you told a grand jury?

13        A      I already answered that.

14               MS. SHIFF:        Objection.

15        Q      Your answer to that question was --

16               MS. SHIFF:        Would you let him finish?

17        Q      -- on hearsay grounds.                 I'm not finished

18   with my question.

19               MS. SHIFF:        I'm sorry.

20        Q      Your answer to that question was on

21   hearsay grounds.        Your second answer was you were




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1    not going to tell me any other reason.                       Am I correct

2    in my understanding of --

3           A       No, my answer was that I'm not going to

4    sit here and enumerate all of the exceptions in the

5    evidence rules.          They're in, they're in Title 5 of

6    the Maryland Rules.            You can go look at them and

7    see.       They're all right there, but, you know, you're

8    asking me to construct hypotheticals, and I really

9    don't know what you're asking.                       I gave you an

10   example.       You said is there any time.                  I said here's

11   an example.

12          Q       Okay.     So I just want to make sure I'm

13   clear in understanding.               So I asked you is there any

14   reason not to tell a jury something you told a grand

15   jury, and it sounds like your answer is yes, if it's

16   inadmissible evidence, I would not tell a jury that,

17   but I may tell a grand jury something.

18          A       Well, hearsay is an example of

19   inadmissible evidence.

20          Q       And that's what I'm saying.                  Can you think

21   of anything besides the rules of evidence that would




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1    constrain what you tell a petit jury vs. a grand

2    jury?

3            A    I can, but I'm not going to sit here and

4    speculate.

5            Q    Okay.     Have you ever --

6                 MS. SHIFF:        Objection.

7            Q    -- been in that situation besides --

8            A    I think I already answered that question.

9            Q    Well, I don't recall what your answer is.

10                MS. SHIFF:        Answer it again.

11           A    Well, that's why this lovely court

12   reporter is here, to help with you that.

13           Q    Okay.     But she's not here for a memory

14   contest.     Can you just indulge me --

15           A    No, it's not a contest.                It's a record to

16   which you can refer to see my answer.                   Can you ask

17   me another question, hopefully more relevant?

18           Q    Yeah, you don't get to decide that,

19   unfortunately.        So besides the rules of evidence,

20   can you think of any other reason that you wouldn't

21   tell a petit jury something you would tell a grand




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1    jury?

2                MR. RUTHER:         Objection.

3            A   I already answered that question.

4            Q   Okay.     But could you indulge me and just

5    answer the question again?

6            A   No, I'm not going to indulge you.               I'm not

7    here to indulge you.          I'm here to answer relevant

8    questions about your lawsuit.                 Please ask them.

9            Q   Okay.     Unfortunately, you don't get to

10   make that judgment call --

11               MS. SHIFF:        Well --

12           Q   -- so could you please just answer the

13   question?

14           A   Yeah, but I get to say I'm not going to

15   answer stupid questions.

16           Q   Okay.     But could you please just answer

17   the question?

18           A   No.

19               MS. SHIFF:        He did.         He did.

20           A   What part of no don't you understand?

21               MR. LEDYARD:         Wendy, could you please




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1    proffer to me what his answer is?

2         MS. SHIFF:       His answer is that, his answer

3    includes the rules of evidence, and the answer

4    is there are so many different potential

5    reasons that he's not going to sit here and

6    enumerate them for you, and if that is his

7    answer, that is what he said.              This is not,

8    this is not really your opportunity to ask him

9    about the state of criminal law in the State of

10   Maryland.    You can ask -- I appreciate that

11   I've let you go pretty far with general

12   questions, but we have time con -- I mean, this

13   is a deposition that's being conducted, first

14   of all, that I could have stopped because I

15   believe it's being conducted live because of

16   false pretenses.

17        However, we're going forward, but I'm not

18   going to let you waste time of an Assistant

19   State's Attorney who is trying to prosecute.

20   Every minute he's in this deposition, he is not

21   prosecuting crime for the, for Harford County




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1    and the State of Maryland, so I am going to ask

2    you to please be respectful of his time and

3    everyone else's time in this room and ask

4    relevant questions.          I don't see how that is

5    relevant.     I think you are harassing the

6    witness.    I think you are being disrespectful,

7    unintentionally, and I think that we need to

8    move on, because the Federal Rules do provide

9    that you cannot harass a witness, so, and I

10   think you are.

11        MR. LEDYARD:        Okay.        I asked you to

12   proffer his answer.

13        MS. SHIFF:       I did.

14        MR. LEDYARD:        You didn't answer.

15        MS. SHIFF:       I did.        If you didn't hear --

16        MR. LEDYARD:        You said rules of evidence

17   and some other reasons that he can't

18   articulate.     I'd just like to know an example.

19        THE WITNESS:        Nobody said I couldn't

20   articulate anything.

21        MS. SHIFF:       And now --




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1                 MR. LEDYARD:      Could we get an example?

2                 MS. SHIFF:     No, you're not.      I've asked

3         you to move on.        He's given you -- I mean,

4         there's a whole title in the Maryland Rules of

5         all the rules of evidence, and he said every

6         one of them, so --

7                 MR. LEDYARD:      We've already talked about

8         that.

9                 MS. SHIFF:     Yes, and he said I'm not going

10        to continue to give you, to give you a lesson

11        in criminal law, and basically, I'm asking you

12        to move on.      I've said, he has said as the

13        court reporter would say that there are so many

14        different possibilities that he doesn't want to

15        sit here and enumerate them for you, so you

16        asked for an example.            He gave you there are --

17        I don't know how many rules of evidence there

18        are, but we could go through them individually

19        and then he could give you several of them, so

20        let's just move on.

21   BY MR. LEDYARD:




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1            Q    All right.        So we already talked about

2    rules of evidence.          I asked for an example outside

3    the rules of evidence.

4                 MS. SHIFF:        Move on.            We've already

5            discussed it.

6            Q    Okay.     Besides the rules of evidence, is

7    there a reason you would not tell a petit jury

8    something you told a grand jury?

9                 MR. RUTHER:         Objection.

10                MS. SHIFF:        Objection, asked and answered.

11           Answer it one more time, yes or no.

12           A    Your question is is there a reason I would

13   give less evidence to a petit jury than I would to

14   the grand jury.

15           Q    Besides the constraints of the rules of

16   evidence.

17                MS. SHIFF:        Objection.

18           A    Besides the -- I'm not going to answer

19   that.

20           Q    Okay.     You can't answer it or you're

21   refusing to answer it?




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1              MS. SHIFF:        You know, I think you are

2         becoming insulting to the witness and if --

3         Q    Okay.     There's no speaking objections.

4              MS. SHIFF:        All right.

5         Q    I'm going to cut this off right now.                  So

6    can you answer it, or you don't want -- or you're

7    refusing --

8              MS. SHIFF:        Or we can ask Mr. Fili to

9         leave the room and I'll make my objection.

10        That's what the rule allows.                 I am allowed to

11        make speaking objections.

12        A    Well, I am kind of thirsty.                 I'd like to

13   go get some water.

14             MS. SHIFF:        All right.           I'll make my

15        speaking objection.

16             (Witness leaves the room.)

17             MS. SHIFF:        You need to move on, and if

18        you're not going to move on, we're going to

19        stop the deposition because you gave a opening

20        of I'm not trying to trick you, I'm not trying

21        to this, and you are doing exactly what you




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1    profess you aren't doing.

2         MR. LEDYARD:        How so?          It's okay to give

3    speeches --

4         MS. SHIFF:       Yes.

5         MR. LEDYARD:        -- but we're here about

6    facts and evidence.

7         MS. SHIFF:       I understand that.

8         MR. LEDYARD:        So tell me how I'm trying to

9    trick anyone.     I'm asking him to provide me

10   information.

11        MS. SHIFF:       Well, you're not entitled to

12   provide -- to ask -- he's provided you with

13   information.     You're not here to be

14   speculative.     You're not allowed to ask him

15   about well, in your 40 years, give me an

16   example of.     I mean, that's an absurdity.              How

17   it could be potentially relevant to anything in

18   this case is probably unfathomable and --

19        MR. LEDYARD:        And you're free to make any

20   objection you want --

21        MS. SHIFF:       I am, and maybe you should let




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1    me finish --

2          MR. LEDYARD:       -- and then he answers.

3          MS. SHIFF:      -- and not interrupt me

4    because you're now being extraordinarily rude

5    as you are being to the witness, so I'm going

6    to ask you to be respectful, to let him finish

7    and to ask appropriate questions.

8          MR. LEDYARD:       Okay.        And your objection is

9    noted, and I would request the witness answer

10   it when he gets back in the room, which we can

11   tell him to come back in.

12         MS. SHIFF:      And I think he has given you

13   the answers, and I have asked you to move on,

14   so.

15         MR. LEDYARD:       He's given me an answer --

16         MS. SHIFF:      No, you don't like his, you

17   don't like his answer, but he has answered it.

18   If you believe that you're entitled to an

19   answer, then at some point, you can file the

20   appropriate motion.          I don't even know who the

21   judge is in this case because we aren't a




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1    party, but if you believe that's the

2    appropriate recourse, but how many times does

3    he have to say I've answered the question, I'm

4    not answering it again, so if you wish to file

5    the appropriate motion with the Federal court,

6    you can do so, but he's not answering it again.

7         MR. LEDYARD:      Okay.

8         MS. SHIFF:     And if you ask it again, we'll

9    stop the deposition.

10        MR. LEDYARD:      So you're instructing him

11   not to answer.

12        MS. SHIFF:     I am going to, yes.

13        MR. LEDYARD:      Okay.        Well, let's put that

14   on the record.

15        MS. SHIFF:     Okay.       No, and so that it's

16   clear, if he chooses not to answer it, I am not

17   forcing him to.     I am not telling him to

18   answer.

19        MR. LEDYARD:      And I was clarifying that

20   he's refusing to answer.

21        MS. SHIFF:     That's fine.




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1                   (Witness returns.)

2    BY MR. LEDYARD:

3            Q      All right, Mr. Fili.                  To make a record,

4    I'm going to ask you, besides the rules of evidence,

5    is there any reason that you would not present

6    evidence to a petit jury that you had presented to a

7    grand jury?

8            A      I've already --

9                   MS. SHIFF:        Objection.            Go ahead and

10           answer.

11           A      I've already answered that question.

12           Q      Okay.     And if you could just indulge me on

13   what that answer is.

14                  MS. SHIFF:        Objection.

15           A      You really should stay away from the I

16   word.       My purpose here today is not to indulge you.

17   Sorry.

18           Q      That's not an answer to the question.

19           A      Well, that was --

20                  MS. SHIFF:        It is.        It is an answer.       It

21           might not be one you like.




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1         Q      So you're refusing to provide me with

2    other ways besides the rules of evidence that would

3    prevent you from presenting the same evidence to a

4    petit jury rather than a grand jury?

5         A      I'm refusing to indulge every whim and

6    caprice in your questioning.

7         Q      So you will not answer that question?

8         A      I will not indulge you.

9         Q      Okay.     But you will not answer the

10   question?

11        A      I will not indulge you.

12        Q      Okay.     So what you're saying is you're not

13   going to answer the question?

14               MS. SHIFF:        Objection.           Move on.

15        Q      Are you instructing him not to answer?

16               MS. SHIFF:        I am -- he has already

17        answered it, and the fact that you continue to

18        ask it despite my repeated requests that you

19        move on is considered harassment.                   I think you

20        are now violating the Federal Rules regarding

21        discovery, and I think you should ask your next




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1         question.

2                (Exhibits 2 through 5 marked.)

3    BY MR. LEDYARD:

4         Q      All right.        Now, Mr. Fili, looking at

5    Exhibit 2, which is a request for discovery and

6    inspection in the case of State of Maryland vs.

7    Charlotte Freda Wolf, Criminal Case 12K17519, are

8    you familiar with this document?

9         A      I don't know.          As I stated earlier, I

10   haven't reviewed any documents in this five-year old

11   case before today.         I can see that it has Joseph

12   Cassilly's signature on it.               Might want to ask him

13   about it.

14        Q      Okay.     Do you routinely send out discovery

15   with warrants in criminal cases?

16        A      I don't know if we send the discovery with

17   the warrants because I don't send the warrants.                  The

18   paralegal sends the warrants.

19        Q      Is this a document that was filed in the

20   case of State of Maryland vs. Charlotte Freda

21   Wolf --




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1         A      I don't know.

2         Q      -- 12K17519?

3         A      I don't know.

4         Q      Okay.     Who'd know the answer to that

5    question?

6                MR. RUTHER:         Objection.

7         A      The Clerk, I guess, the Clerk of the

8    Circuit Court for Harford County.

9         Q      Are you familiar with the case State of

10   Maryland vs. Charlotte Freda Wolf, Criminal Case

11   12K17519?

12        A      Yes.

13        Q      Okay.     And I showed you Exhibit 1.        There

14   was an indictment regarding that case.             Would this

15   be discovery and inspection related to that case?

16        A      Like I said, you'd have to check with the

17   Clerk to see what was filed in that case.             I haven't

18   looked at these documents in years.

19        Q      Great.      So looking at page 5 of Exhibit 1,

20   looks like Charlotte Wolf was indicted for theft of

21   at least a $1000 but less than $10,000 between the




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1    time of January 1st, 2015, and October 31st, 2015,

2    from Home Depot; is that correct?

3               MS. SHIFF:        Are you asking him to read the

4         document?

5         Q     Yeah.     Are those contents correct?

6         A     You've got a document here that is not

7    certified by the Clerk that you're asking me to

8    accept as accurate, and now, you're asking me about

9    the accuracy of the contents of it?

10        Q     Let me ask you this.                  You prosecuted a

11   case State of Maryland vs. Charlotte Freda Wolf?

12        A     Yes, I did.

13        Q     Okay.     That was Criminal Case 12K17519,

14   correct?

15        A     Are you asking me or telling me?                  I don't

16   remember the case numbers.

17        Q     Okay.     But you prosecuted that case?

18        A     I prosecuted Charlotte Wolf, yes.

19        Q     Okay.     And the indictment in that case was

20   between January 1st, 2015 ,and October 31st, 2015,

21   she was accused of theft of at least $1000 but less




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1    than $10,000 against Home Depot?

2               MR. RUTHER:         Objection.

3          Q    Is that correct?

4          A    I heard an objection.

5          Q    You can answer.

6               MS. SHIFF:        You can answer.

7          A    Once again, what exactly are you asking

8    me?   What it says on this paper?                 That's what it

9    says on this paper that you've shown me.

10         Q    I'm asking you what she was indicted for.

11         A    I don't remember.             I didn't review the

12   case files like I told you.

13         Q    Okay.     What was she prosecuted for?

14         A    Theft.

15         Q    Theft from where?

16         A    Theft by receiving stolen goods I guess

17   you could call it.        The modern theft statute

18   encompasses all kinds of theft.

19         Q    Do you recall with whom she received the

20   stolen goods from?

21              MR. RUTHER:         Objection.




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1         Q     From whom.

2         A     Yes, I believe in that case, the person

3    who was coming in with the stuff is named Patrick

4    Humes.   He's dead.

5         Q     And the victim was Home Depot?

6         A     Correct, by and large.

7         Q     By and large.          Okay.          Because I'm reading

8    this indictment and it only says Home Depot in

9    there.

10        A     Then I'm sure we only tried her on the

11   stuff he brought from Home Depot.                   What I'm saying

12   is there was four different pawnbrokers at least and

13   lots and lots of property brought in that was stolen

14   from many different places.              It's possible that in

15   that investigation, they brought more than Home

16   Depot stuff to Associated Pawn, but what I recall is

17   she was prosecuted for Home Depot merchandise that

18   was brought in by Patrick Humes.                   That's my

19   recollection without reviewing the case files.

20        Q     Okay.     And just where I'm going with,

21   again, not to trick you or fool you is why I showed




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1    you Exhibit 2 is it looks like the Home Depot, there

2    were two stores with two different addresses, and

3    that's in paragraph 1, and I'm just trying to make

4    sure that I understand correctly.

5         A    Well, once again, you know, you're asking

6    me questions that I can't --

7              MS. SHIFF:        You asked about Exhibit 2.

8         Q    Yeah, Exhibit 2 now lists two addresses

9    for Home Depot.

10        A    Okay.

11        Q    So maybe two stores?

12        A    Okay.     It's a chain.

13        Q    Exactly.       So Home Depot but two locations.

14   I'm just trying to make sure I understand the basic

15   facts.

16        A    I frankly don't recall.

17        Q    Okay.     Does Exhibit 2 help refresh your

18   recollection at all?

19        A    If Exhibit 2 was authenticated, it might.

20        Q    Okay.     So I'll let you know, I mean, I can

21   show you Exhibit 2 was authenticated by your office




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1    and produced in response to subpoena.                    I can show

2    you all those documents if you want.                    They're on my

3    iPad.       I'm just representing to you.               I'm not again

4    trying to trick you.

5            A      So you're saying -- I don't think you're

6    trying to trick me.            You're just asking me

7    questions, you know, based on like putting paper on

8    the table in front of me.                 I'm not going to take the

9    paper at face value, not that I think you have

10   intentionally done anything.                   I just don't think

11   it's prudent to take the paper at face value,

12   because I've seen lots of strange things in 38

13   years.       All kinds of mistakes happen.

14           Q      Okay.     I'm just trying to get a sense of

15   the underlying facts.

16           A      If you can show me the document that my

17   office authenticated to you, I'll tell you whether

18   or not it refreshes my recollection.

19           Q      Okay.     The problem is marking this.              It's

20   on my iPad.       I can always send it.               All right.    So

21   here's a letter.           I guess we'll mark it, make a note




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1    somewhere, as Exhibit 6.

2              (Exhibit 6 identified.)

3              MR. RUTHER:         You have a Bates label?

4              MR. LEDYARD:         No, it's -- I can show it to

5         you, too.

6              MS. SHIFF:        It's a letter of March 21,

7         2021, from --

8              THE WITNESS:         23.

9              MS. SHIFF:        I'm sorry.           23.   Thank you.

10        My eyes are -- from Gavin Potashinic (phonetic)

11        to Mr. Ledyard.        The letter says there is a

12        signed certification.

13             THE WITNESS:         That was lost in the mail.

14   BY MR. LEDYARD:

15        Q    Well, they had to send it twice.                  I did

16   eventually get the original one as well.

17        A    Do you have the certification?

18        Q    Well, this is the certification.

19             MS. SHIFF:        No, actually, the

20        certification --

21        A    No, it's a letter that says --




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1            Q       There you go.          Certification is page 2.

2            A       Okay.     And where is Fili No. 2 in this

3    sheaf of documents?

4            Q       Okay.     That's a tougher question.               Let's

5    see.        That was Charlotte Wolf.                  This is the problem

6    with using your cell phone is the internet

7    connection.        Oh, unable to load folder.                  Okay.       So

8    it came in a folder Wolf, see PBK documents.                           I

9    understand PBK is your case management system?

10           A       Yes.

11           Q       And let's see.           That's the indictment

12   form.        So it says five indictment requests.                  I can't

13   read the whole file name, but it's a Word document

14   and you can scroll through it if you need to.

15           A       Okay.     Yeah, that, what you put in front

16   of me appears to be a fair and accurate copy of what

17   our office certified to you, but I have to say that

18   I frankly don't recall the addresses of the Home

19   Depot and how many there were.

20           Q       Okay.     Prior to March of 2017, had you

21   ever indicted an owner or an employee of a pawnshop




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1    for a theft scheme?

2                 MR. RUTHER:         Objection.

3                 MS. SHIFF:        Objection.           You can answer.

4            A    Am I supposed to answer?

5                 MS. SHIFF:        Yes, yes or no.

6            A    Okay.     Yes.

7            Q    Approximately how many times?

8            A    That I can't recall.

9            Q    Do you know how often you would indict an

10   owner/employee for a theft scheme prior to March of

11   2017?

12                MS. SHIFF:        Objection.           I'm not sure I

13           understand what you mean by how often if he

14           doesn't know how many times, you know.

15           Q    Again, Wendy, could we please stop with

16   the speaking objections?              If he needs me to clarify,

17   I'm happy to do that.            Again, once a year, once a

18   month, once a week?

19           A    I don't remember.

20           Q    Okay.     Had you ever received any training

21   on prosecuting pawnshops for theft schemes?




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1         A    I went to a weeklong identity theft

2    seminar in 2005 or '6 after I came to work here, and

3    I don't remember the entire curriculum, but I

4    believe it had a section on pawn theft.

5         Q    And besides your identity theft seminar,

6    any other training that you'd received?

7         A    No.

8         Q    In that seminar, did they talk about the

9    receipt of stolen goods or the receipt of documents

10   or cards like gift cards?

11        A    I can't exactly remember what they talked

12   about.

13        Q    In the case against Charlotte Wolf, were

14   you aware that Miss Wolf complied with the Harford

15   County pawnshop law?

16        A    Sure.

17        Q    Okay.     So she submitted the transactions

18   to the RAPID on time?

19        A    As far as I know.

20        Q    Okay.     She submitted the transactions to

21   Harford County on time?




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1         A    You'd have to ask Blubaugh about that.

2         Q    Okay.     But there was a paper copy of the

3    transaction that she would have to submit to Harford

4    County, correct?

5         A    I don't know.          I don't administrate that.

6    Blubaugh did.     My recollection is that she did what

7    she was supposed to do in that regard.

8         Q    Okay.     And then in terms of doing what she

9    was supposed to do, she would be required to hold on

10   to an item for 30 days?

11        A    Once again, you'd have to ask Blubaugh.

12   We only get these cases after they, after Police

13   Department determines there may have been theft.

14        Q    Besides yourself, before March of 2017,

15   did anyone else at the State's Attorney's Office

16   prosecute pawnshop theft schemes?

17        A    Yes, these cases were transferred to me

18   from Christopher J. Smith.            He already had a

19   prosecutor-investigator if you want to call it a

20   relationship with Justin Blubaugh with respect to

21   these cases, and then he terminated his, Christopher




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1    Smith terminated his employment here and the cases

2    were reassigned to me in midstream.

3          Q   Anyone else besides him?

4          A   Not that I know of.

5          Q   Do you know the total number of

6    transactions that the pawnshop Charlotte Wolf worked

7    at processed each year?

8          A   No.

9          Q   Did you ever look into that?

10         A   No.

11         Q   During the trial against Charlotte Wolf,

12   my understanding is Patrick Humes admitted to

13   committing over 100 thefts?

14         A   I don't remember what number he admitted

15   to.

16         Q   Okay.     But he did admit to a number of

17   thefts on the stand?

18         A   Do you have the trial transcript?

19         Q   I do.

20         A   Then you know better than me.          Why don't

21   you show me the transcript?




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1            Q    All right.      I can --

2            A    I don't remember.

3            Q    All right.      So we can mark this, would

4    this be Exhibit 7.

5                 (Exhibit 7 marked.)

6    BY MR. LEDYARD:

7            Q    I'm going to show you a official

8    transcript of the proceedings on March 2nd, 2018, in

9    the case of State of Maryland vs. Charlotte Wolf.

10   Going to turn your attention to the bottom of page

11   24, and why don't you start with line 17 and read on

12   to page 25?

13           A    Steve Tully.

14                MS. SHIFF:      What pages were the reference?

15           Q    Yeah, 24, I think line 17.

16                MS. SHIFF:      Okay.

17                MR. RUTHER:       I assume you don't have other

18           copies of that.

19           Q    Sorry.   I can show you.            I have it on

20   my --

21                MR. RUTHER:       I've got it on my computer,




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1         too, but I was just curious.

2         A     Okay.     So you're asking me about cross-

3    examination by the defense attorney, Mr. Tully.

4         Q     That's correct.

5         A     I have no independent recollection -- I

6    have no reason to dispute this transcript, but I

7    have no independent recollection of that question or

8    the answer, but I certainly don't think it's out of

9    whack.   In other words, it doesn't surprise me at

10   all that Mr. Humes admitted to hundreds of thefts.

11   That's what they were doing.

12        Q     Are you aware of any items that were sold

13   to either Starlite Pawnshop or Associated Pawnshop

14   that Mr. Humes allegedly stole that were not

15   reported in the RAPID system?

16        A     I'm only aware of what Justin Blubaugh

17   reported in his investigation.

18        Q     Okay.     Did Justin Blubaugh ever tell you

19   that Mr. Humes sold to either Associated or Starlite

20   items that he allegedly stole that later were not

21   reported in the RAPID system?




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1         A    I don't recall.

2         Q    And just to be clear, did he ever tell you

3    there were any under the table transactions or off

4    the books transactions?

5         A    I don't recall.

6         Q    Okay.     Are you aware of any?

7         A    No.

8         Q    You're aware that Mr. Humes was caught

9    stealing from Home Depot, like actually in the act?

10        A    Uh-huh.

11             MS. SHIFF:        You need to say yes just so

12        the --

13        A    Yes.

14             MS. SHIFF:        Sorry.

15        A    On the other end of that.              I usually say

16   that to my witnesses.

17             MS. SHIFF:        I know.

18        A    Yes, I'm aware of that.

19             MS. SHIFF:        It's harder than you think to

20        be a witness.

21        Q    Are you aware he was, admitted to actually




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1    committing thefts after he was caught at Home Depot?

2           A     That particular nuance, no, I don't recall

3    whether I knew that or not.

4           Q     Okay.     Do you know if he admitted to any

5    thefts after he was interviewed in person by

6    Detect -- or Corporal Blubaugh?

7           A     I honestly don't recall whether he did or

8    he didn't.     If I was going to speculate --

9                 MS. SHIFF:        Don't speculate.

10          A     All right.        Then I won't speculate.          Thank

11   you.

12                MS. SHIFF:        You're welcome.       All this

13          advice that you gave people.

14          Q     And who testified in front of the grand

15   jury in these proceedings?

16          A     Blubaugh.

17          Q     Just Blubaugh?           Anyone else?

18          A     No.

19                MS. SHIFF:        Well, I'm going to object

20          because you really shouldn't know what the

21          grand jury --




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1            A    That's right.          I forgot.

2                 MS. SHIFF:        -- so I should have gotten

3            before that one --

4            A    My bad.

5                 MS. SHIFF:        Right.        So give me a minute to

6            object.   There's grand jury privilege, and I'm

7            instructing you not to violate the secrecy of

8            the grand jury.

9            Q    Okay.     Just so I'm clear, besides Corporal

10   Blubaugh, did anyone testify in front of the grand

11   jury?

12                MS. SHIFF:        Do not answer the question.

13           Grand jury privilege.

14           Q    Okay.     I think that that's not applicable

15   right now in our proceedings, but --

16                MS. SHIFF:        It is.        It is.   You need to

17           get an order from the Circuit Court for Harford

18           County that you can show me that they are free

19           to reveal the information from the grand jury.

20           Probably answering your first question violated

21           that, so I'm instructing you not to answer any




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1         more questions about the grand jury

2         proceedings, and we'll object to all of them,

3         and I don't have the Maryland State rule cite,

4         but there is a rule.

5         Q    Was a court reporter present at the grand

6    jury proceedings?

7              MS. SHIFF:       You can answer that question.

8         A    I can?

9              MS. SHIFF:       Yes, because that's -- are you

10        saying in this case or generally?

11        Q    In this case.

12             MS. SHIFF:       I think you can go ahead and

13        answer that because that's not substantive.

14        That's procedural.

15        A    Not to my knowledge.

16        Q    Prior to March of 2017, had a court

17   reporter ever been present at a grand jury

18   proceeding in which you were involved?

19        A    In which I was involved?

20             MS. SHIFF:       Ever?

21        Q    In which you were involved.




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1              MS. SHIFF:        Ever.

2         A    And I can answer that question?

3              MS. SHIFF:        You can answer ever -- I would

4         answer it yes or no without any -- you can't

5         say which ones.        You can only say yes or no.

6         A    I have to say possibly.

7         Q    Okay.     And I should have been more clear.

8    The Harford County State's Attorney's Office.

9         A    Well, that's the way I took your question.

10        Q    Okay.

11             MS. SHIFF:        And see, I took it as --

12        A    Oh, is that --

13             MR. RUTHER:         So did I.

14        Q    Yeah, it was a bad question.

15             MS. SHIFF:        All right.

16        A    Well, I was only thinking about Harford

17   County.

18             MS. SHIFF:        Okay.

19        Q    In the year 2017, was a court reporter

20   ever present at a grand jury proceeding before I

21   guess March?




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1         A       In my cases?

2         Q       Yes.

3                 MS. SHIFF:        He only should know about --

4         well --

5         Q       Yeah.

6         A       I frankly don't recall.                I have had --

7                 MS. SHIFF:        That's the answer.

8         A       I frankly don't recall.

9                 MS. SHIFF:        That's the answer.          We're

10        going to be very limiting when you address

11        court -- grand jury proceedings even if we're

12        talking about general procedural issues.

13        Q       Have you ever seen a transcript of a grand

14   jury proceeding which you initiated at the Harford

15   County State's Attorney's Office?

16                MR. RUTHER:         Objection.

17                MS. SHIFF:        You may answer that yes or no,

18        and I assume you mean generally, not in this

19        case.

20        Q       That's correct.

21        A       Can I say I don't recall?




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1                MS. SHIFF:        Yes.      Yes.

2            A   Possible.       I don't have any specific

3    recollection of it.

4            Q   Was there a, before March of 2017, was

5    there a policy not to record grand jury proceedings

6    in the Harford County State's Attorney's Office?

7            A   For policy questions, you'll have to talk

8    to the upper management.

9            Q   I understand, but what was your awareness

10   of --

11           A   I don't make the policy.

12           Q   I'm just asking what your understanding,

13   if you have a understanding of whether it was a

14   policy or not.

15           A   My casual observation says that there, it

16   was, there was not a practice of having a reporter

17   in the grand jury.

18           Q   Did you ever request a reporter in a grand

19   jury proceeding in which you were involved?

20           A   When?

21           Q   During your time at the Harford County




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1    State's Attorney's Office?

2            A   Yes.

3            Q   Was a court reporter provided?

4            A   Yes.

5            Q   Okay.     On how many occasions?

6            A   Once or twice.

7            Q   Besides times in which you requested a

8    court reporter be present at a grand jury proceeding

9    at the Harford County State's Attorney's Office, can

10   you recall whether a court reporter was present

11   without your request?

12           A   How would I know that, sir?

13           Q   Well, you'd observe it or not.

14           A   No, I wouldn't.            You're only allowed to

15   have one prosecutor in the grand jury room at a

16   time.

17           Q   Yeah, so in grand jury proceedings that

18   you --

19           A   We don't witness other people's

20   presentations.

21           Q   That wasn't my question.




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1            A    I'm not trying to like you say --

2            Q    Yeah.

3            A    -- you know, be whatever.              I'm just

4    telling you I wouldn't know that, and I don't know

5    that.

6            Q    No, no, I meant -- so grand jury

7    proceedings that you handled, besides the times you

8    requested a court reporter, do you ever recall a

9    court reporter being present?

10           A    And I'm telling you I have no way of

11   knowing that and I don't know that.

12           Q    I'm just asking your personal observation.

13           A    I don't recall.

14           Q    I think maybe you misunderstand the

15   question.

16                MS. SHIFF:        No, I think he's not.           I think

17           the question's badly -- I'm going to ask you to

18           rephrase the question.

19           Q    Yeah.     So during your time at the Harford

20   County State's Attorney's Office before March of

21   2017, besides the times that you requested a court




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1    reporter be present, did you ever observe a court

2    reporter present at a grand jury proceeding?

3         A    Are you asking me that outside of my own

4    cases that did I ever observe any indicia that might

5    indicate there was a court reporter in the grand

6    jury in Harford County?

7         Q    No, I'm just asking on your cases.

8              MS. SHIFF:       Well, if it's his --

9         A    On my cases?

10        Q    Yes.

11        A    Well, if they're my cases, I would know

12   the court reporter's there.            I thought you were

13   asking me about other cases.

14        Q    I'm not.      I'm simply asking you whether

15   one was present.

16        A    I thought I answered that question.

17             MS. SHIFF:       You did.

18        A    I had a court reporter once or twice.

19        Q    Besides those times where you requested a

20   court reporter --

21        A    That's the only way you get one.




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1            Q    Okay.     All right.

2            A    Okay.     That's where the misunderstanding

3    was.

4            Q    That's where it is.

5                 MS. SHIFF:        They don't show up.

6            A    I have to ask for it, yeah.            They just

7    don't show up, say hi, court reporter, you know.

8            Q    Okay.     Just want to make sure.

9            A    I knew there was a crossed wire there

10   somewhere.

11           Q    Do you recall Patrick Humes indicating

12   that he hated dealing with Starlite and Associated

13   Pawnshop?

14           A    When?

15           Q    Well, having to conduct business with

16   them.

17           A    No, when are you asking me if I heard him

18   say that, at what point?              Pre-indictment,

19   post-indictment, trial, before trial, after trial?

20           Q    At any time.

21           A    That he hated dealing with Starlite?




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1         Q       Yep.

2         A       Unless that's in his transcript when he

3    was interviewed by the police, I don't have any

4    independent recollection of him saying that.

5         Q       Have you reviewed that transcript where he

6    was interviewed by the police?

7         A       No.     Like I said, I haven't reviewed

8    anything.

9         Q       Not today, but ever.

10        A       Yeah, before when I first got the

11   materials.

12        Q       Okay.     Do you recall in there --

13        A       I don't have any independent

14   recollection --

15        Q       You want me to show you?

16                MS. SHIFF:        Wait a minute, and I'm going

17        to ask you to stop.              You need to let him finish

18        his answer.         You need to let him ask his

19        question before you start answering.

20        A       Okay, yeah.

21                MS. SHIFF:        And I'm going to object




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1         because he says he didn't have an independent

2         recollection, so I'm going to ask you to try to

3         remember the answers he gives before you ask

4         your next question.

5         Q     So you reviewed the transcript of his

6    interview with Corporal Blubaugh?

7         A     At some point in time, I read his

8    statement, yeah.

9               MS. SHIFF:        Not recently.

10        A     Right.      Not for many years.

11        Q     It could have been many years.         Okay.     Do

12   you ever recall Patrick Humes indicating that he was

13   given a shopping list by either Starlite or

14   Associated Pawnshops?

15        A     When?

16        Q     At any time.

17        A     I don't have any independent recollection

18   of that.

19        Q     Okay.     Do you ever recall him indicating

20   that he was given a list of needed items from either

21   Associated Pawnshop or Starlite Pawnshop?




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1         A      What I remember is his nephew giving him

2    lists of things to steal when he went in the store.

3    I don't have any independent recollection of whether

4    or not he told anyone that the pawnshops were giving

5    him lists of things to bring in.

6         Q      Do you recall Mr. Humes wanting to

7    apologize to the pawnshops for getting them

8    involved?

9         A      Yes, I remember that kind of struck me

10   because that's something unusual.                  He apparently

11   wept during his interview and asked Deputy Blubaugh

12   if he could apologize to the storekeepers that he

13   had wronged, and I think Deputy Blubaugh told him

14   well, you know, we're not going to do that right now

15   or they may not want to hear that right now or

16   something like that.          That I remember because it was

17   unusual.

18        Q      Do you recall that he testified telling

19   Charlotte Wolf that he was a wholesaler?

20        A      Yeah, I remember that, yes.

21        Q      Okay.     Do you recall arguing to the judge




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1    that he did not appear to be a wholesaler?

2         A     You betcha, because he didn't.

3         Q     Well, some of the specific arguments that

4    I was just trying to get some more information on is

5    how does a wholesaler dress?

6               MR. RUTHER:         Objection.

7         A     In my opinion?

8         Q     Yeah.

9         A     Well, I don't think my personal opinion

10   matters, but for the purpose of the trial, I would

11   imagine that the wholesaler would dress in business

12   casual clothing, be well groomed and sell his stuff

13   in bulk and not piecemeal day by day to a

14   pawnbroker, I think which is pretty much what I

15   argued.   Mr. Humes was none of that.

16        Q     Is there particular like clothes that you

17   would expect him to wear?

18              MS. SHIFF:        Objection.           He just answered.

19        Do you mean like color and type?

20        Q     Yeah, type.

21        A     Well, I said business casual, and for that




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1    I refer you to Dress for Success written by John T.

2    Malloy.    That's where I get my definition of

3    business casual from.

4           Q     You also indicated that a wholesaler would

5    deal in bulk.        What does that mean?

6           A     You want me to define the word bulk for

7    you?

8           Q     Yes.

9           A     Look at what is it, universal, what is it,

10   the Uniform Commercial Code Title 6, Bulk

11   Transactions.        You might want to start there.

12          Q     Now, the items that Patrick Humes sold to

13   the pawnshops, they didn't make any attempt to hide

14   them or conceal them?

15          A     I'm sorry.        Repeat that question.

16          Q     Okay.     Yeah, that was a bad question.         So

17   they appeared to be new in package?

18          A     They?

19          Q     The items that Patrick Humes sold to the

20   pawnshops.

21                MR. RUTHER:         Objection.




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1                 MS. SHIFF:        What's the -- can you re-ask

2         the question completely, please?

3         Q       Sure.     The items that were sold by Patrick

4    Humes to the pawnshops, they were new in the

5    package, correct?

6                 MR. RUTHER:         Objection.

7         A       My recollection is that he was bringing

8    items into the store in its intact, unopened

9    packaging.     How new they were, that's a different

10   story.     They may have been on the shelf at Home

11   Depot the day before.            Who knows how long they were

12   there.

13        Q       That's a fair, fair statement.         They still

14   had the bar codes on them?

15        A       I don't know.

16        Q       Okay.     Do you recall if any bar codes were

17   missing?

18        A       Don't recall that.

19                MS. SHIFF:        Wait for him to finish his

20        question.

21        A       I'm sorry.




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1              MR. LEDYARD:         I know you want to get this

2         over with.

3         A    Well, no, it's just that's a bad habit of

4    mine, and I apologize.

5              MS. SHIFF:        Okay.

6         Q    Do you recall if they still had the serial

7    numbers on them?

8         A    I don't have any independent recollection

9    of whether or not they could ascertain the serial

10   numbers from the packaging.

11        Q    Did you look at the transaction receipts

12   in the case?

13        A    I looked at two or three three-inch ring

14   binders full of paper that had all kinds of

15   documents in there.

16        Q    What kind of documents would you find in

17   those binders?

18        A    Documents that supported Deputy Blubaugh's

19   investigation.

20        Q    Okay.     And could you be more specific

21   about the documents?




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1         A    Not particularly, but since you asked, I

2    don't exactly recall all the documents, but there

3    were a lot of documents in there.

4         Q    Okay.     So what I saw in the evidence I've

5    looked at is obviously, there'd be a RAPID printout

6    from the entries into RAPID?

7         A    Yeah, there were lots of those.

8         Q    And then I saw some pictures of items that

9    had been seized?

10        A    That's possible, too.                 I recall looking at

11   pictures, yes.

12        Q    Okay.     I saw a receipt from the Sheriff's

13   Office for seizing the items.

14        A    That's probably in there, but I don't

15   particularly recall that.

16        Q    Okay.     Are there any other documents you

17   recall seeing besides those?

18        A    Well, there was transcripts of statements,

19   things like that, statement of probable -- no, there

20   wouldn't have a statement of probable cause.                 I

21   believe we indicted them originally in the grand




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1    jury.       Police reports, you know, things like that.

2            Q      What I have are called incident reports.

3    Does that sound right?

4            A      Yeah, that's what I'm referring to when I

5    say police report.

6            Q      Okay.     And when Corporal Blubaugh went in

7    front of the grand jury, did he just read from the

8    incident report?

9                   MS. SHIFF:        Objection.           Don't disclose

10           what went on during the grand jury.                   It's

11           privileged.        I instruct you not to answer.

12           Q      Okay.     Do you take any notes of grand jury

13   proceedings?

14           A      Of course not.

15           Q      Okay.     Do you come into the grand jury

16   proceedings with any notes?

17           A      That would be work product, wouldn't it?

18                  MS. SHIFF:        You can answer whether you

19           come in with notes.             You can't disclose, you

20           don't disclose them, but you can answer whether

21           you bring notes in.




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1         A       I'm going to say no, because generally --

2                 MS. SHIFF:        Don't.        Just no.

3         A       Yeah, no.

4         Q       Okay.     I didn't find any in what was given

5    to me, so.

6                 MS. SHIFF:        We would not have turned over

7         work product.

8         Q       Well, there would be a privilege log, and

9    I did not see one.

10                MS. SHIFF:        Okay.

11        Q       But for trial, you prepare notes?

12        A       Sometimes.

13        Q       In this case, we have four pages of notes

14   that were indicated as privileged for trial notes.

15   Does that sound about right?

16        A       Oh, well -- okay.             My habit, when I write

17   trial notes on there, that means those are notes I

18   took during trial.

19        Q       Okay.     What about, I saw in the file

20   that -- the indictments happened in March of 2017.

21   You had interview notes from Patrick Humes in August




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1    of 2017.   Was that the first time you met him?

2         A     Probably, but I can't specifically recall.

3         Q     If you had met him before, would you have

4    recorded those notes?

5         A     I'm not sure what you mean by that.        When

6    I interview a witness, I may take notes about my

7    thoughts and opinions that are work product.        I may

8    or may not have done that, depending on the length

9    of the interview, you know, the depth of the topic.

10        Q     So I'm happy to show you your notes.         My

11   impression were they were actually turned over to

12   the defense as part of discovery.

13        A     My notes?

14        Q     Yes.

15        A     Yeah, you better show me that, because I

16   mean, I may be chagrined, but I really don't recall

17   ever turning my personal notes over in discovery,

18   unless it was some sort of mistake.

19              MS. SHIFF:       And just so it's clear because

20        I was involved in the response to the subpoena,

21        we did agree to waive privilege on certain




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1         materials, so I believe they were turned over

2         in response to your subpoena, not because they

3         had been turned over previously.                  In fact, I

4         think your premise may be mistaken.

5         Q     I'm looking through to see if there was a

6    supplemental disclosure.

7               MS. SHIFF:      I don't know if there were.

8         Q     Yeah, there were a lot of supplemental

9    disclosures in the discovery process for the

10   underlying criminal case, so I might be mistaken.

11   Can't access it for some reason.               Okay.     Fair

12   enough.   It might not have been there.                 Part of the

13   reason you were able to judge Patrick Humes' dress

14   was that you had still photos from security footage

15   within the stores?

16        A     I'm sorry.      I was able to?

17        Q     Observe Patrick Humes' appearance during

18   the transactions?

19        A     Yeah, I recall there was at least one or

20   two still photographs showing him in the store.                      I

21   don't have an independent recollection of what,




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1    whether or not we put them in at trial, but we may

2    have.

3            Q      Was there any evidence at all that either

4    pawnshop attempted to hide the transactions with

5    Patrick Humes?

6            A      Do you mean from the investigative

7    materials or testimony at trial?                      What exactly are

8    you asking me here?

9            Q      Yeah.     So I mean, my impression just is

10   that the transactions were all on the books.                        They

11   weren't off the books.              They happened out in the

12   open.       There's security footage as well as all the

13   transactions were reported to the RAPID system as

14   well as the Harford County Sheriff's Office.

15           A      What I recall is the Defendants made great

16   emphasis of that at the trial, and I do not recall

17   having any evidence to rebut that.                      That's my

18   recollection.

19           Q      Do you know where Corporal Blubaugh

20   obtained his pricing information regarding the

21   items?




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1                  MR. RUTHER:         Objection.

2                  MS. SHIFF:        You can answer.

3            A     No.

4            Q     Okay.     Did you talk to him at all about

5    that?

6            A     No.     I talked to a security employee of

7    Home Depot.

8            Q     And do you recall who that individual was?

9            A     I want to say his name was William

10   somebody.

11           Q     Yeah, I think it's Bill Adams, William

12   Adams.      Does that sound right?

13           A     Yeah, that sounds right, yeah.              I knew

14   there was something about his name.                  There's a

15   deputy named Will Adams, so yeah, I think that's the

16   guy's name.

17           Q     Okay.     And so regarding the conversation

18   you had with William Adams, do you know if that's

19   the information that Corporal Blubaugh used in his

20   investigative report or --

21           A     No, I don't know that.




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1         Q       Okay.     Did Corporal Blubaugh tell you at

2    all where he got the pricing information he put in

3    his investigative report?

4                 MS. SHIFF:        Objection.           I think he's

5         indirectly already answered that question, but

6         you can answer it again.

7         A       Don't recall.

8         Q       Did Patrick Humes indicate where he stole

9    the items from?

10        A       My recollection is he never indicated to

11   me anything that was inconsistent with the

12   investigative observations or his statement.

13        Q       Okay.     In his statement, he indicated he

14   couldn't remember which store he had stolen which

15   item from.

16        A       Okay.

17                MR. RUTHER:         Objection.

18        Q       Is that --

19                MS. SHIFF:        Is there a question?

20        Q       I mean, is that your recollection of what

21   he testified to or --




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1            A      My recollection is I do not recall Patrick

2    Humes ever telling me anything that was inconsistent

3    with either his formal statement or the observations

4    of the police that they made of him.

5            Q      Do you know if Patrick Humes sold items to

6    either pawnshop that he hadn't stolen?

7            A      I can't say I know either way because I

8    don't recall that, if that was part of the

9    investigation or not.

10           Q      At trial, I believe the evidence was that

11   Charlotte Wolf was charged with purchasing 20 stolen

12   items?

13           A      I don't recall the exact number.

14           Q      Okay.     I want to show you Exhibit, are we

15   on 8?       So this is the transcript of the proceedings

16   on March 1st, 2018, in State of Maryland vs.

17   Charlotte Wolf.

18                  (Exhibit 8 marked.)

19   BY MR. LEDYARD:

20           Q      I'm going to turn your attention to page

21   6, lines 20 through 25.




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1         A    Well, the question here was put to the

2    witness, who I presume is Justin Blubaugh because

3    the question is how many, if any, transactions were

4    you able to find in the pawn data base involving

5    Patrick Humes pawning Home Depot merchandise at

6    Associated Pawn in Edgewood to a particular

7    pawnbroker named Charlotte Wolf, and Deputy

8    Blubaugh's answer pursuant to this transcript that

9    you showed me, which I have no reason to dispute,

10   his answer was it was around 20.                 I have no

11   independent recollection of that testimony.

12        Q    Okay.     You would have put in evidence of

13   those transactions at trial, correct?

14             MR. RUTHER:         Objection.

15             MS. SHIFF:        Objection.           You can answer.

16        A    If I had it, I probably would have.                  You

17   know, I'm human.      Sometimes I make mistakes.             I have

18   no independent recollection of what exact evidence I

19   put in to support that answer, if any.

20        Q    What evidence would be necessary to

21   support that answer in a case like this?




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1              MR. RUTHER:         Objection.

2              MS. SHIFF:        Objection.

3         Q    Or in this case.

4              MS. SHIFF:        Objection.

5         A    I have to answer?

6              MS. SHIFF:        Yeah.       I mean --

7         A    That's a depends answer.               Depends what

8    information is in the investigative file.               If you're

9    asking me in the best of all possible worlds what

10   evidence I like to have --

11        Q    Okay.     I'll ask you --

12        A    -- I'm not going to answer that question.

13        Q    I'll ask you a better question.

14        A    I was limited by what was in the

15   investigative file.

16        Q    Okay.     What evidence did you have that

17   Charlotte Wolf engaged in any criminal activity with

18   Patrick Humes?

19        A    That's in the trial transcript.

20        Q    Okay.     But what was that evidence?

21        A    I don't exactly recall.




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1         Q       Okay.     And so I'm trying to assist you

2    with that by showing you that it says 20

3    transactions, so I'm trying to figure out --

4         A       Okay.     So there were 20 transactions.

5         Q       -- what would the evidence behind those 20

6    transactions be?

7         A       I don't independently recall.

8                 MS. SHIFF:        Right.

9         A       I mean, that's just the honest truth.

10                MS. SHIFF:        Right.

11        Q       Yeah, I'm with you.               It's just -- what

12   evidence did you offer at trial regarding pricing of

13   the items?

14        A       I don't recall exactly.                I'd like to say

15   that I put Mr. Adams on the stand, but I don't

16   exactly recall.

17        Q       Do you recall -- I'm just trying to get a

18   sense of -- I didn't see anything in the trial

19   transcripts that indicated anything about any

20   pricing, so I'm trying to figure out what the

21   pricing information was.




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1              MS. SHIFF:      I'm going to object, and I

2         appreciate your question, but this witness has

3         told you he's reviewed no documents, so he

4         doesn't -- he's also pretty much told you

5         doesn't have a recollection of what evidence he

6         presented at trial, so if he doesn't recall the

7         general, it's, recalling the specific is

8         unlikely, but -- so it would be asked and

9         answered, but you can answer it again.

10        A    My answer is I don't know how it works for

11   you, sir, but I am like a bathtub.            When I get ready

12   for trial, I fill my bathtub with water and I have

13   all this knowledge in my head, and then I try the

14   case and after the case, I pull the plug and all the

15   information goes away because I have to process so

16   much other information and remember it that I cannot

17   commit to memory everything I do in every trial.

18   It's impossible.   I deal with so much intake of

19   information just on a daily basis that, you know,

20   you prepare for trial and you load yourself up as

21   much as you can in your mind and your effects to try




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1    the case, and you try it and then you let it go.

2    That's where we are today five years after the fact

3    or however many years it's been.

4         Q       And to assist with the processing and

5    memorization and organization of that information,

6    you do occasionally take notes?

7         A       Sometimes.        I have a very good memory, so

8    I don't always make notes.

9         Q       Okay.     But if you took notes in this case,

10   you would say that those are a better indication of,

11   you know, what happened at trial vs. what your

12   memory is?

13        A       You talking about my trial notes?

14        Q       That's correct.

15        A       They're work product.                 You're never going

16   to see those.

17        Q       Okay.     I'm just asking --

18        A       I don't remember what they are because I

19   did not review them.

20        Q       Okay.     But those notes would have useful

21   information?




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1         A    Maybe, maybe not.             A lot of times my notes

2    are just maybe a word that you wouldn't understand

3    that in the moment will trigger me for like

4    re-direct or cross-examination.                 They're not

5    necessarily whole thoughts.             I might not even

6    understand what they mean, and many times I haven't

7    going back, you know, a long time after the fact and

8    looking at my notes.        They don't necessarily

9    trigger, you know, the thought they would trigger in

10   the heat of battle.

11        Q    Okay.     So my question to you is this.                 You

12   indicated you have a great memory, but then you also

13   indicated the bathtub gets drained after trial.

14        A    Uh-huh.

15        Q    But you take notes during trial?

16        A    Which is work product.

17        Q    Okay.     Those notes during trial would

18   contain some of those thoughts --

19        A    Sounds like you're asking me the same

20   question, and the answer is it depends.

21        Q    Okay.     And you didn't review your notes --




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1         A       No.

2         Q       -- in preparation for this deposition?

3         A       No.

4         Q       Okay.     And what do your trial notes

5    typically contain?

6                 MS. SHIFF:        Objection.

7         A       Scribbling.

8         Q       Okay.     And what are you scribbling?

9                 MS. SHIFF:        I think --

10        A       I've already explained that.

11        Q       Okay.     So do you scribble questions to ask

12   witnesses?

13        A       Sometimes.

14        Q       Do you scribble topics to cover?

15        A       Sometimes.

16        Q       Do you scribble notes contemporaneous with

17   the action at trial?

18        A       Sometimes.

19        Q       Do you scribble arguments to make during

20   trial?

21        A       Sometimes.




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1              (Exhibit 9 marked.)

2    BY MR. LEDYARD:

3         Q    Exhibit 9 is a string of e-mails between

4    Justin Blubaugh and Salvatore Fili between March

5    21st and March 22nd, 2017.            Have you seen these

6    e-mails before?

7         A    I'd like to speak to my attorney in

8    private, please.

9              (Brief recess.)

10             MS. SHIFF:        I don't remember what the

11        pending question was, so you may want to have

12        it read back or --

13   BY MR. LEDYARD:

14        Q    Read it back.

15             (Pending question read back.)

16             MS. SHIFF:        Okay.       Have you seen these

17        before is the question.

18        A    I'm not going to answer that.             They're

19   work product.

20        Q    Okay.     So did you correspond with Justin

21   Blubaugh via e-mail?




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1         A    It's work product.

2         Q    Okay.     So unfortunately, you don't get to

3    make that determination.

4         A    I just did.

5         Q    So you're not going to answer any

6    questions regarding your e-mail?

7         A    I'm not going to answer any questions

8    about work product.

9         Q    Is this a true and accurate copy of the

10   e-mails between Salvatore Fili and Justin

11   Blubaugh --

12        A    See previous --

13        Q    -- between March 21st, 2017, and March

14   22nd, 2017?

15        A    See my previous answer.

16        Q    Okay.     Do you know how much merchandise

17   Joseph Blubaugh had calculated that Charlotte Wolf

18   had purchased from Patrick Humes that was allegedly

19   stolen from Home Depot?

20        A    No.

21        Q    Okay.     Do you know how much merchandise --




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1            A      Are you asking me if I know this today?

2            Q      Yes.

3            A      I don't have any independent recollection

4    of that.

5            Q      If you could turn to page 3 of Exhibit 9,

6    that may refresh--

7            A      Why?    It's work product.

8            Q      Well, it might refresh your recollection.

9    Okay.       Looking at page 3 of Exhibit 9, does that

10   refresh your recollection?

11           A      I'm not looking at page 3 because it's

12   work product and I'm not going to discuss it.

13           Q      So you're refusing to answer the question?

14           A      Yes.

15           Q      Do you know how much in terms of dollar

16   amount Jeffrey Ledergerber allegedly purchased from

17   Patrick Humes that was allegedly stolen from Home

18   Depot?

19           A      I don't have any independent recollection

20   of that.

21           Q      If you looked at Exhibit 9, page 2, would




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1    that help to refresh your recollection?

2         A    I am not going to do that nor discuss it

3    because it is work product.

4         Q    All right.        Do you recall having a

5    conversation with Justin Blubaugh about whether Ed

6    Wolf could be indicted on March 28th, 2017?

7         A    Well, if it was an oral conversation or a

8    written conversation, either way, it would be work

9    product and I'm not going to discuss it.

10        Q    Okay.     And what's the basis for your work

11   product analysis?

12             MR. RUTHER:         Objection.

13             MS. SHIFF:        Objection.

14        A    I'm not going to answer that, either.

15        Q    Okay.     So you don't have a basis for

16   analyzing your work product answer?

17        A    Did I say that?

18             MS. SHIFF:        Objection.

19        Q    Okay.     What's your basis for saying it's

20   work product?

21             MR. RUTHER:         Objection.




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1         MS. SHIFF:     Objection.           He's asserting a

2    work product privilege.

3         MR. LEDYARD:      Okay.        He is or --

4         MS. SHIFF:     He is.

5         MR. LEDYARD:      Are you instructing him not

6    to answer that question?

7         MS. SHIFF:     I am not making -- he is

8    entitled to make a work product privilege

9    refuse -- he is entitled to assert a work

10   product privilege, and I am allowing him to

11   make that determination, so you can move on

12   because he has, as the attorney for the State,

13   he has the right to assert that privilege.

14        MR. LEDYARD:      Just so the record's clear,

15   you're not instructing him not to answer.                He's

16   doing that on his own.

17        MS. SHIFF:     I am neither instructing him

18   not to answer nor to answer.              I am allowing him

19   as the attorney for the State to make that

20   determination, and he has made it, and I'm not

21   telling him that his answer is incorrect.




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1    BY MR. LEDYARD:

2            Q    Prior to indicting Edward Wolf, did you

3    ever doubt you could prove your case beyond a

4    reasonable doubt?

5                 MS. SHIFF:        Objection.           Don't answer that.

6            Q    What's the basis of that?                 You can leave

7    the room, please.

8                 MS. SHIFF:        Because that is absolutely

9            work product.

10           Q    Prior to indicting Edward Wolf on March

11   27th of 20, or 28th of 2017, what evidence did you

12   have that he had committed any crime?

13                MS. SHIFF:        What evidence did you have is

14           not work product.         You can answer.

15           A    I had the investigative materials that

16   were given to me when the case was reassigned to me.

17           Q    Okay.     And what investigative material was

18   that?

19           A    I already answered that question.

20           Q    You have not.

21           A    Yes, I have.         I told you that I had two or




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1    three, possibly more three-inch ring binders full of

2    investigative materials.

3         Q    Okay.     And what was included in those

4    ring --

5         A    I've already told you that.

6         Q    If you'd please let me finish my question.

7    As it regards to Edward Wolf, what material was in

8    those two or three inch ring binders?

9         A    I don't have an independent recollection.

10        Q    What would help to refresh your

11   recollection?

12        A    I don't know.          I would know it if you

13   showed it to me.

14        Q    The case against Edward Wolf, what was the

15   result of that case?

16        A    I don't -- well, I don't specifically

17   recall, but I think I nol-prossed his case after the

18   conclusion of Charlotte Wolf's trial.                 That's the

19   best of my recollection.

20        Q    And why did you nol-pros his case?

21             MS. SHIFF:        Objection.           That's privileged.




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1         A     I'm not going to answer that.

2         Q     Do you have any independent recollection

3    of any grounds for prosecuting Edward Wolf stemming

4    from an indictment on March 28th, 2017?

5               MR. RUTHER:       Objection.

6         Q     You can answer.

7               MS. SHIFF:      I don't even remember the

8         question.    It was, it's slipped my mind.        Can

9         you read back the question?

10              (Pending question read back.)

11              MS. SHIFF:      So you can answer yes or no,

12        do you have any independent recollection.

13        A     Vaguely.

14        Q     And what is that recollection?

15        A     That there was information in the

16   investigative materials pertinent to Edward Wolf.

17   That's the extent of my recollection at this point

18   in time.

19        Q     Did Edward Wolf participate in any

20   transactions with Patrick Humes?

21        A     I don't have any independent recollection




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1    of that.     You'd have to refer to the investigative

2    materials.

3         Q       If the investigative materials didn't

4    contain any information indicating that Patrick

5    Humes transacted any business with Edward Wolf,

6    where else would I look?

7         A       How would I know?             Look where you want.

8         Q       Okay.     So you don't know of any other

9    place for me to look?

10        A       I've told you what my recollection is.

11   That's the extent, the sum and substance of my

12   recollection.        Can we move on?

13        Q       So the entire decision to prosecute Edward

14   Wolf would be contained in these two or three inch

15   ring binders?

16                MS. SHIFF:        I'm going to object.       The

17        decision to prosecute is privileged.                It's

18        subject to absolute prosecutorial immunity, and

19        you are not entitled to know about his decision

20        making process to prosecute.

21        Q       What evidence did you have to prosecute




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1    Edward Wolf stemming from an indictment on March

2    28th, 2017?

3              MR. RUTHER:         Objection.

4              MS. SHIFF:        Objection, asked and answered.

5          Q   Okay.     Is there any evidence outside the

6    two to three inch ring binders that you've referred

7    to for prosecuting or for -- is there any evidence

8    outside those two to three inch ring binders that

9    supports the prosecution of Edward Wolf stemming

10   from an indictment on March 28th, 2017?

11         A   I've already told you what I remember.

12   You're wasting our time.           We've all got, you know,

13   places to be, things to do.             Ask something that is,

14   hasn't been answered ten times already.

15         Q   Okay.     I'm trying to find out the

16   universe --

17         A   I know what you're trying to do.             You're

18   going about it the wrong way.

19         Q   Okay.     Well, what's the right way to do

20   it?

21             MS. SHIFF:        Well, objection.       Don't answer




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1         that question.

2         A    I'm not going to dignify that with an

3    answer.

4         Q    Okay.     So outside of these two to three

5    inch ring binders, there's no other evidence that

6    would form the basis of prosecuting Edward Wolf?

7              MS. SHIFF:        I'm going to object, and

8         you're now, I think you're getting close to

9         asking him about his thought processes, and

10        that is privileged and I'm going to instruct

11        you not to answer.

12        Q    To the extent I'm asking about thought

13   processes, do not answer that question.          I'm asking

14   about evidence.     Is all the evidence found in those

15   two to three inch ring binders against Edward Wolf?

16        A    And I've answered that question --

17             MR. RUTHER:         Objection.

18        A    -- and I think everybody in the room would

19   agree that I'm not a shrinking violet, but I have to

20   tell you I'm beginning to feel badgered.

21        Q    Okay.     Can you just say yes or no?




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1         A    Sorry.

2              MS. SHIFF:        All right.           And so the witness

3         has now stated that he feels like he is being

4         harassed.

5         Q    I just want an answer to these questions.

6              MS. SHIFF:        Well, you've been given one.

7         You were given one about five minutes ago.

8         Q    I can recall from my memory what happened.

9         A    Congratulations.

10        Q    I recall that I asked, you know, where is

11   the evidence found against Edward Wolf.                 The answer

12   was in these two to three inch ring binders.

13             MS. SHIFF:        Well, and you have omitted the

14        fact that he has said he has vague

15        recollections about anything pertaining to

16        Mr. Wolf's case and doesn't remember, and that

17        seems to be conspicuously absent from your

18        recollections.

19        Q    Okay.     So where would I look for evidence

20   to support the prosecution against Edward Wolf?

21             MS. SHIFF:        Objection.




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1         A    I've already answered that question.

2         Q    Well, I'm completely confused now, because

3    I thought --

4         A    Not surprising.

5         Q    -- I understood you would look in the two

6    to three inch ring binders.             Am I wrong that that's

7    the only place I would look?

8              MS. SHIFF:        Objection.           You are badgering,

9         arguing and harassing this witness.

10        Q    Okay.     All I want to know is, is there

11   more evidence out there, or am I limited to that

12   universe of evidence?         That's all I want to know.

13             MS. SHIFF:        And the answer has been given

14        and --

15        Q    What's the evidence -- if the answer was

16   given, you would just give it again.

17             MS. SHIFF:        I've said the answer is he

18        doesn't recall, and you need to move on.

19        Q    So then my next question is, where would I

20   look for that additional evidence?

21             MS. SHIFF:        Well, if he doesn't recall, he




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1         wouldn't know where it would be.                 It's an

2         illogical tautol -- you're trying to create an

3         illogical tautology.            It doesn't work.

4         Q    There's nothing illogical about that.                    If

5    he's not too sure if the ring binders contain the

6    evidence or not, I'm asking where are other sources

7    I would look for evidence.

8              MS. SHIFF:        I'm not sure I understand.                 If

9         you understand the question, you can -- if you

10        can figure out the leap of logic, go ahead.

11        A    I've already told you that there was

12   information in the ring binders.                 I don't have a

13   perfect recollection of it.             I'm not going to advise

14   you how to do your job.

15        Q    Okay.     But you can answer questions about

16   where else --

17        A    I've answered your questions, sir.                    Stop

18   badgering me --

19        Q    I'm not badgering --

20        A    -- and move on.            Yes, you are.

21        Q    I'm looking for sources of information.




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1    It's called discovery.

2         A     Yes, you're looking for it, but you may

3    not get it here.       Why can't you accept the fact that

4    I don't remember?

5         Q     I'm not asking you to remember things.

6               MS. SHIFF:        All right.           Now, we're going

7         to, we are going to, if you ask this question

8         again, we're just going to adjourn.

9         Q     Then we need to reach a stipulation on the

10   record to move on.

11              MS. SHIFF:        No, no, we don't.           We don't

12        because I can't remember ever in my almost 40

13        years of practice having a witness say to a

14        questioner sir, you are badgering me, and this

15        witness has said this multiple times, and the

16        rules of evidence do not permit you to badger,

17        harass, argue, and you are doing all of those

18        things to the point that the witness is asking

19        you to stop badgering him.

20        Q     Okay.     So I want to be very clear on the

21   record.   I am trying to find sources of information




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1    to support my case.        I am not intending to badger or

2    harass anyone.

3          A    How much more clear is that than the first

4    15 times you said it?          We know what your mission is.

5    Ask your questions.        I will give you my answers.

6    You have to accept my answers.                   If not, you can

7    certify it for the record and a judge can rule on

8    it.   Let's move on.       I got stuff to do.

9          Q    Okay.     Please do not interrupt me.               Please

10   do not interrupt me.

11         A    Please start doing something relevant.

12         Q    So just so the record is clear, my intent

13   is not to harass or badger anyone.                   I'm trying to

14   find sources --

15         A    Just comes naturally.

16         Q    Please do not interrupt me.

17              MS. SHIFF:        Let him make his speech.

18         Q    I have asked that several times.                  So I'm

19   not attempting to harass anyone or badger anyone.

20   I'm trying to find sources of information.                   I have

21   asked one question about, that has not been answered




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1    about whether there are additional sources of

2    information besides these two to three inch ring

3    binders.

4         A       I'm done.    See you later.

5         Q       I'd just indicate for the record --

6         A       No, this deposition is over.

7         Q       -- that the witness again interrupted me

8    and walked out on the deposition that has been duly

9    noted.     A subpoena has been issued and accepted by

10   his counsel.     He has now left the conference room,

11   presumably to go on for other things, and that's all

12   I can really say on the record.                 I was not able to

13   ask all the questions.         I had additional exhibits.

14   I was attempting to find sources of information to

15   make sure my investigation was complete, and with

16   that, there's no point in continuing.                 I don't know

17   if anyone wants to say anything else.

18                MS. SHIFF:     I do.       The witness asked you

19        repeatedly to stop badgering and harassing him,

20        and despite the fact that you have stated you

21        weren't badgering or harassing, you indeed




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1         were.     You were repeatedly disregarding his

2         request and his --

3                 MR. LEDYARD:      But --

4                 MS. SHIFF:     Let me finish now, as you

5         asked the witness to allow you to do so.                 The

6         witness has left the room partially because you

7         denied that you were, the activity in which you

8         were engaging, so the witness has left the

9         room, and I am going to go speak to him, but if

10        you would like to take two minutes, I will go

11        see if I can find the witness, but otherwise,

12        we will adjourn.

13                (Brief recess.)

14                MS. SHIFF:     We will continue the

15        deposition if you move on.                 If you ask that

16        question again, we will adjourn.

17                (Exhibit 10 marked.)

18   BY MR. LEDYARD:

19        Q       I've placed in front of you Exhibit 10,

20   which is a three-page document.                 If you could please

21   take a look at that and let me know when you're




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1    finished.    Okay.     Exhibit 10 is a e-mail exchange

2    between Salvatore Fili and Justin Blubaugh taking

3    place on January 15th, 2019.              Are you familiar with

4    this exchange?

5         A      It's work product.            I'm not going to

6    comment on it.

7         Q      Just to be clear, you're not going to

8    answer any questions involving Exhibit 10?

9         A      Correct.

10        Q      What is the basis for your refusal?

11               MS. SHIFF:      He just asserted a work

12        product privilege.

13               MR. LEDYARD:       So a work product privilege,

14        whenever a privilege is asserted, a basis has

15        to be asserted for it, and if questions could

16        be answered to the extent that it's not, a

17        privilege is not asserted, we need to discuss

18        that, so are you asserting a blanket work

19        product?

20               MS. SHIFF:      Yes.

21               MR. LEDYARD:       Okay.        Are you instructing




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1         your client not to answer any questions?

2              MS. SHIFF:        I am instructing him -- when

3         he asserts the privilege before I have the

4         opportunity to do so, then I respect his

5         assertion of privilege and I support it.

6              MR. LEDYARD:         Okay.        But you're not

7         instructing him not to answer?

8              MS. SHIFF:        You've heard my words.

9         They're in the transcript.                 Would you like to

10        spend 20 more minutes going through this?

11             MR. LEDYARD:         It's a simple yes or no

12        question.     Are you instructing him not to

13        answer these questions?

14             MS. SHIFF:        I have told him -- I have not

15        instructed him to answer the question.                  I have

16        stood by his assertion of work product

17        privilege.

18             MR. LEDYARD:         I'm going to show you

19        Exhibit 11.

20             (Exhibit 11 marked.)

21   BY MR. LEDYARD:




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1         Q       Exhibit 11 is a two-page document.            It is

2    an e-mail chain starting or taking place on March

3    6th, 2018, with an e-mail from Salvatore Fili to

4    Justin Blubaugh.         Are you familiar with this e-mail

5    document?

6         A       I'm asserting a work product privilege and

7    will not discuss this exhibit.

8         Q       Okay.     And will you state a basis for the

9    work product privilege?

10        A       That it's work product.

11        Q       Okay.     Are you instructing the witness not

12   to answer?

13                MS. SHIFF:        Are you asking me questions?

14        Q       That's correct.            Are you instructing --

15                MS. SHIFF:        Did you hear me -- perhaps I'm

16        not following because I haven't, did not make

17        an instruction, but I also am not telling him

18        that his assessment is incorrect as I've said

19        repeatedly now throughout this deposition, and

20        given the length of this deposition, I'm

21        surprised I have to say this more than once,




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1         but he has asserted a work product privilege

2         and I support his assertion of the work product

3         privilege, and when he asserts a privilege

4         prior to the time I assert it, then I have

5         supported his decision.                 He is certainly

6         entitled as an attorney to assert his own

7         privileges, so.

8                 (Exhibit 12 marked.)

9    BY MR. LEDYARD:

10        Q       Okay.     Exhibit 12 is a two-page document.

11   It is an e-mail exchange starting with

12   carpalserviceaccount@harfordcountymd.gov to Erin

13   Burkadine (phonetic), but finishing with Salvatore

14   Fili to Erin Burkadine.             Are you familiar with this

15   document?     And this on April 2nd, 2019.

16        A       I'm asserting a work, attorney work

17   product privilege.

18        Q       Okay.     And will you state a basis for that

19   privilege?

20        A       It's work product.

21        Q       Okay.     Are you instructing your client not




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1    to answer any questions?

2                   MS. SHIFF:     As I have repeatedly stated,

3            and perhaps -- I really suggest you get your

4            hearing checked, and because I have stated on

5            multiple occasions that when my client, who is

6            a licensed member of the Bar of this State,

7            asserts an attorney work product privilege, I

8            support that decision, and as you can hear from

9            my silence when he asserts it, I do not suggest

10           that he reconsider his decision, and no matter

11           how many times he asserts work product

12           privilege, I will support that decision.

13                  (Exhibit 13 marked.)

14   BY MR. LEDYARD:

15           Q      Exhibit 13 is a e-mail exchange between

16   Salvatore Fili and Justin Blubaugh on May 31st,

17   2019.       Are you familiar with this document?

18           A      I'm going to assert attorney work

19   privilege.

20           Q      What is the basis of that privilege?

21           A      It's work product.




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1         Q    Okay.     And you won't be answering any

2    questions about Exhibit 13?

3         A    Correct.

4         Q    Same with Exhibit 12?

5              MS. SHIFF:        He already answered that.

6         Q    Okay.     Same with Exhibit 11?

7              MS. SHIFF:        He has answered that.

8         Q    And same with Exhibit 10?

9              MS. SHIFF:        He has answered that as well.

10        Q    Okay.     Are you instructing your client not

11   to answer any questions regarding Exhibit 13?

12             MS. SHIFF:        I have told you now at least

13        on three or four occasions that my client is

14        capable of asserting an attorney work product

15        privilege, which he has asserted.           It was not

16        necessary for me to instruct him not to answer

17        those questions, but I support his decision as

18        a fellow member of the Bar and professional

19        colleague.

20        Q    Who is Beth Dorsey?

21        A    One of the employees of this office.




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1         Q      Does she still work here?

2         A      Yes.

3         Q      Is she in charge of the grand jury

4    schedule?

5         A      No.

6         Q      On March 28th, 2017, a grand jury was I

7    guess assembled in Harford County, Maryland?

8         A      I don't know.

9         Q      All right.        Did you attend a grand jury

10   proceeding on March 28th, 2017?

11        A      I don't recall.

12        Q      Okay.     If these indictments stem from a

13   grand jury proceeding on March 28th, 2017, were you

14   present at that?

15        A      I don't recall.            I wasn't always present

16   when I, my cases were presented.

17        Q      Okay.     Do you recall presenting the

18   indictments in the underlying criminal cases that

19   we're here to discuss involving --

20        A      I can't recall either way.

21        Q      Okay.     I'm going to show you Exhibit 14.




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1              (Exhibit 14 marked.)

2    BY MR. LEDYARD:

3         Q    Okay.     Exhibit 14 is a one-page e-mail

4    with what appears to be a seven-page attachment.             Do

5    you have that in front of you?

6         A    Yes.

7         Q    Okay.     And the attachment appears to be

8    the grand jury schedule for March 28th, 2017?

9         A    Okay.

10        Q    Looking at --

11        A    I mean, this has to do with the internal

12   workings of our office.          To the extent it's

13   possible, I'm going to assert an attorney-client, or

14   attorney work product privilege.

15        Q    So looking at page 4, just at the top, it

16   indicates Ryden (phonetic) for Manners and State's

17   Attorney, and that's on the right side?

18        A    This exhibit that you've shown me, is this

19   one of the documents that was certified to you by

20   Gavin Potashinik?

21        Q    No, this was provided by Harford County --




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1          A    Then I'm not answering any questions about

2    it.   It's an internal document.

3          Q    So just so I can finish, this was provided

4    by Harford County Sheriff's Office, so it was

5    provided to a third party --

6          A    Okay.

7          Q    -- and the privilege was likely waived.

8          A    That's where you got it from.

9          Q    That's correct.

10         A    But as far as I'm concerned, it pertains

11   to the internal workings of this office, and I am

12   not going to comment on it because I believe that

13   comes under the penumbra of attorney work product.

14         Q    Okay.     So if a, one Assistant State's

15   Attorney stands in for another Assistant State's

16   Attorney during a grand jury proceeding, is that

17   noted on the schedule?

18         A    I'm not going to answer questions about

19   the schedule of this office with respect -- first of

20   all, the grand jury proceedings are secret, and

21   No. 2, any schedule that's promulgated in connection




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1    with them is an internal document related to the

2    internal workings of this office, and I consider

3    that work product.     Now, a judge may disagree with

4    me, but that's my understanding of work product,

5    that this qualifies.

6         Q    You indicated that you could not recall

7    whether you were present for the grand jury

8    proceedings for Charlotte Wolf, Edward Wolf, James

9    Baker, Jeffrey Ledergerber; is that correct?

10        A    Correct, I cannot specifically recall.

11        Q    If you look at page 6 of this attachment

12   of Exhibit 14, does that help to refresh your

13   recollection?

14        A    Not looking at it because I'm not going to

15   comment on it because it's a work product, which I

16   have stated more than once, and I appreciate your

17   zealousness, but I'm not going there.

18        Q    Are you instructing your client not to

19   answer that question?

20             MS. SHIFF:      I am supporting his assertion

21        of privilege.




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1         Q     Okay.     What evidence supported your

2    prosecution of Jeffrey Ledergerber stemming from the

3    indictment in Exhibit 1?

4               MR. RUTHER:         Objection.

5               MS. SHIFF:        Objection.

6         A     I believe that's in the record, don't you,

7    counsel?

8         Q     I'm asking you about specific evidence.

9         A     And I'm not answering that.

10              MS. SHIFF:        You haven't asked about

11        specific evidence.           You've asked generally what

12        evidence, and Mr. Fili has said that -- I

13        assume it's in the record, meaning --

14        Q     Could we hold off on the speaking

15   objections?   I'm asking you what evidence supported

16   your prosecution.

17        A     And I'm telling you that is also work

18   product because it pertains to my thoughts and

19   impressions of the case.            There is a record of the

20   evidence that was presented against Mr. Ledergerber

21   which you have demonstrated to us you already




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1    possess.

2         Q     Okay.     And what record is that that you're

3    referring to?

4         A     The transcript of the trial.

5         Q     So unfortunately, that transcript only

6    involves Charlotte Wolf.

7         A     Okay.     Well, I presume that you have the

8    one for Ledergerber.

9         Q     I do not, in fact.

10        A     Whose fault is that?

11        Q     Well, I mean, I'm happy to tell you, I'm

12   not here to answer questions, but I can tell you

13   that the court has apparently lost --

14        A     That was a rhetorical question.         Doesn't

15   require an answer.

16        Q     Okay.     So --

17        A     They lost the record?

18        Q     That's correct.            So --

19        A     Good luck with that.

20        Q     Yeah.     So what I'm asking you is, what

21   evidence was there?




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1         A       And I'm not answering because it's work

2    product.

3         Q       Okay.     What evidence was there to support

4    the prosecution against James Baker stemming from

5    the indictment found in Exhibit 1?

6         A       See previous answer.

7         Q       Okay.     So you're not answering any

8    questions?

9         A       I'm not answering as I'm asserting

10   attorney work product privilege.

11        Q       Did you present any evidence at trial

12   against Jeffrey Ledergerber regarding the price of

13   the items that were allegedly stolen from Home

14   Depot?

15        A       I don't specifically recall.

16        Q       How about Charlotte Wolf?

17                MS. SHIFF:        I think that was asked and

18        answered.

19        Q       Okay.     So I'll just represent to you, and

20   you're free to look at the transcript if you want,

21   there was no specific evidence on pricing that was




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1    presented to the jury against Charlotte Wolf.

2         A       Okay.

3         Q       Do you know why that was?

4                 MS. SHIFF:        That would be work product

5         privilege, and I would instruct you not to

6         answer that.

7         A       I wasn't going to, but thank you.

8                 MS. SHIFF:        You're welcome.      Sometimes I

9         beat you to it.

10        A       Appreciate you jumping in there.

11                MS. SHIFF:        Usually, I'm faster on the

12        trigger.

13        Q       Do you have any evidence -- do you have

14   any evidence that Jeffrey Ledergerber purchased

15   items from Patrick Humes far below a reasonable

16   value?

17        A       I am asserting an attorney work product

18   privilege.

19        Q       Okay.     I'm going to ask the same question

20   regarding James Baker.

21        A       Same answer.




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1         Q    Charlotte Wolf?

2         A    Same answer.

3         Q    And Edward Wolf?

4         A    Same answer.

5         Q    Do you recall that the Home Depot

6    representative, William Adams, admitted at trial

7    that Home Depot destroys the items that were

8    returned to them that were allegedly stolen?

9         A    You know, as a matter of fact, I do not

10   recall that.     I don't specifically recall him

11   testifying to that.

12        Q    There was mention at the Harford County

13   Sheriff's Office that they had lost a few pawnshop

14   cases prior to Charlotte Wolf's and Jeffrey

15   Ledergerber's.     Are you aware of any of those

16   pawnshop cases that were prosecuted?

17        A    Thank you for relaying gossip.

18        Q    Are you aware of any cases that were lost

19   prior to theirs?

20        A    I'm not going to comment on cases that are

21   not my own.




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1            Q    Had you lost any pawnshop cases prior to

2    the prosecution of Jeffrey Ledergerber or Charlotte

3    Wolf?

4            A    I had a case early on in my tenure that

5    had to do with Charlotte and Edward Wolf's

6    predecessor, the owner of Associated Pawn.

7    Mr. Wolf, I don't know if Charlotte was there, but

8    Mr. Wolf was working.         He was the No. 2 guy at

9    Associated at the time.          The victim related that she

10   went to work there as an employee and that I think

11   -- I forget the guy's name.             Cassidy?    Something

12   like that.     He allegedly offered this employee the

13   opportunity to store her valuables in the safe that

14   they had there, so she put her wedding set, her

15   jewelry and things like that in there, things of

16   great value to her.

17                     And one day they turned up missing,

18   and I don't know if she called the police or she did

19   a citizen's application for charges, but one way or

20   another, the case landed on my desk.               I don't recall

21   if, if it was a jury trial -- I think it was a jury




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1    trial prayer, but don't quote me on that.

2    Nevertheless, I got the case.             I looked at the case.

3    I found out that everybody who worked there had

4    access to the safe, including the owner, so I

5    determined -- and he was represented by a guy named

6    Mike Hickey at the time.         I determined that we

7    probably couldn't prove it beyond a reasonable doubt

8    because she was alleging that the employer was the

9    one who stole her -- and his reputation was, in

10   fact, that.   That was his reputation that he had

11   done this to other employees.

12                   At least that was something that was

13   represented to me.     I don't remember how.          Maybe the

14   victim said that she heard that or something, but

15   her story was that as soon as the owner sniffed out

16   that she was looking for a job somewhere else, her

17   jewelry disappeared.      I couldn't prove that he

18   himself took it because there were too many people

19   that had access to that, opportunity to access that

20   safe at that place of employment, so I wound up

21   vetting the case past Joe Cassilly, who was our




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1    elected State's Attorney at the time, and I believe

2    he said go ahead and nol-pros it.

3                     And I remember this case because the

4    attorney when I told him what our decision was

5    wanted me to nol-pros it right away, and

6    Mr. Cassilly said no, let it stay on the docket

7    until it comes in for trial and then nol-pros it on

8    that date, so since he wasn't asking me to do

9    anything illegal, immoral, unethical or fattening,

10   being an Assistant State's Attorney, I say yes, sir,

11   but Mr. Hickey was very upset with that decision,

12   and that's what we did.         I nol-prossed the case, so

13   if you want to call that a loss, that's a loss.                   We

14   didn't get a verdict favorable to the State.

15        Q    Beside that case, any other cases you can

16   recall?

17        A    Not that I can recall.

18        Q    On March 28th, 2017, did Patrick Humes

19   testify in front of a grand jury?

20             MS. SHIFF:       Objection.           Don't answer that

21        question.    It's privileged.




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1            Q      On March 28th, 2017, did Tony Lindsey

2    testify in front of a grand jury?

3                   MS. SHIFF:      Again, instruction, do not

4            answer questions about the grand jury.

5            Q      On March 28th, 2017, did Bill Adams,

6    William Adams testify in front of a grand jury?

7                   MS. SHIFF:      Again, please do not answer

8            questions about the grand jury.               It's

9            privileged.

10           Q      On March 28th, 2017, did any members of

11   the Harford County Sheriff's Office besides Corporal

12   Blubaugh testify?

13                  MS. SHIFF:      Again, that would be

14           privileged.      Don't answer.

15           Q      Were you aware a press conference was held

16   after the indictments in this case were secured?

17           A      No.   I don't live in Harford County, and I

18   don't follow local news feed.                  I'm sorry.    I don't

19   know.       Don't judge me on that, but I don't really

20   pay attention to Harford County news.

21           Q      Did you speak to Joe Cassilly about the




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1    indictments after they were issued?

2         A      Not going to answer that.               That's work

3    product.    I think I looked up work product in the

4    dictionary and there was that definition there.

5         Q      Besides members of the Harford County

6    State's Attorney's Office and the Harford County

7    Sheriff's Office, did you speak to anyone else about

8    the indictments in this case?                 And besides your

9    attorney.

10        A      Repeat that question.

11        Q      Yeah.     Besides members of the Harford

12   County Sheriff's Office or the Harford County

13   State's Attorney's Office and your attorney, have

14   you spoken to anyone else about the indictments --

15        A      When?

16        Q      At any time after the indictments were

17   issued.

18        A      Oh, after the indictments.               Spoke to

19   anyone about them?

20        Q      That's correct.

21        A      Does that include like maybe asking a




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1    paralegal to do something like file a motion for

2    tangible evidence or saying I need to schedule this

3    or talking to criminal assignment about a trial date

4    or, or hey, Sal, I heard you've indicted so-and-so,

5    like somebody in the office.                    Yeah, it's set for

6    trial on such-and-such a date.                        You know, that kind

7    of stuff probably happens all the time.                        Do I

8    remember any substantive conversations about the

9    worth of the case and what the evidence was and all

10   that?       No.     Mostly just Blubaugh or the witnesses, I

11   would imagine.

12           Q         Have you attended any press conferences

13   after indictments for theft in your career?

14           A         No.   You may not be aware, but Doug

15   Gansler from Montgomery County when he was a State's

16   Attorney down there got his tail feathers in a

17   ringer because he did exactly that, so I make it a

18   practice of A, not talking to the press, and B, if

19   they want to talk to somebody, they refer them up my

20   chain of command.

21           Q         Do you know how either pawnshop determined




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1    the price that they paid Patrick Humes for the items

2    that were allegedly stolen from Home Depot?

3         A    I'm going to say that I -- Patrick Humes

4    might have stated either in his confession or on the

5    witness stand and Ms. Wolf, I don't recall if she

6    testified or not, but for some reason, I seem to

7    recall that there may have been some discussion

8    about Humes would bring stuff in and she'd look it

9    up on some computer and then offer him some money.

10   That's what I remember.

11        Q    Okay.     Anything else you remember?

12        A    No, that's it.

13        Q    All right.        Give me five minutes.    I'm

14   almost done, okay?

15        A    Well, you have the room until one o'clock,

16   which is what, seven minutes from now.

17        Q    I thought we had 1:15.

18        A    Well, if no one kicks us out.          We have to

19   reserve time here.

20             (Brief recess.)

21   BY MR. LEDYARD:




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1         Q    Just briefly, what was your probable cause

2    to indict Jeff Ledergerber?

3         A    I'm not answering that.

4              MS. SHIFF:        I think that's privileged.

5         A    That's a double whammy.                That's attorney

6    work product and grand jury.

7         Q    Okay.     What was your probable cause to

8    indict Charlotte Wolf?

9              MS. SHIFF:        Same.

10        A    Same answer.

11             MR. RUTHER:         Objection.

12        Q    What was your probable cause to indict

13   Edward Wolf?

14             MR. RUTHER:         Objection.

15             MS. SHIFF:        Same.

16        Q    Do you have an answer?

17        A    Same answer.

18             MS. SHIFF:        It's privileged.

19        Q    Okay.     And what was your probable cause to

20   indict James Baker?

21             MS. SHIFF:        Same.




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1                 MR. RUTHER:         Objection.

2         A       Same answer.

3                 MR. LEDYARD:         I don't have any further

4         questions for you.

5                 MS. SHIFF:        Thank you.

6                         E X A M I N A T I O N

7    BY MR. RUTHER:

8         Q       Mr. Fili, we haven't actually met.                 My

9    name is --

10        A       You look familiar for some reason.

11        Q       Even with the mask on?

12        A       Even with the mask on.

13        Q       My name's Adam Ruther.                 I am the attorney

14   representing the Defendants, specifically Corporal

15   Blubaugh and Sheriff Gahler in this case.

16        A       Okay.

17                MS. SHIFF:        He's a notorious criminal.

18        A       So you're from the County Attorney's

19   Office?

20        Q       No, no, I'm private counsel from Rosenberg

21   Martin Greenberg, engaged by Harford County to




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1    represent them, and I think you know Miss Lambert

2    here, who's the County attorney.

3            A      Yes, I do.

4            Q      But I'll be asking you just a few

5    questions.       Being cognizant of the restrictions on

6    grand jury secrecy and the work product privileges

7    you've asserted, I'm going to do my best to ask

8    questions that avoid those things, but obviously, I

9    know that if I step in any of them, you will let me

10   know.       Mr. Fili, you've testified that you have

11   extensive experience.           The way I count it, 38 years

12   as an Assistant State's Attorney in between

13   Baltimore City --

14           A      It will be 38 years on January 3rd, 2022.

15           Q      First of all, thank you for your service.

16   I know how hard that job is.                In your experience as

17   an Assistant State's Attorney, you understand the

18   concept of Brady material, do you not?

19           A      Yes, I do.

20           Q      And as I understand it -- you correct me

21   if you have a different understanding -- Brady




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1    material is any information that a defendant would

2    be able to use that would suggest that the defendant

3    is not guilty as opposed to guilty.

4         A       Uh-huh.

5         Q       Is that a fair enough representation of

6    what Brady material is?

7         A       Yes.    I know my attorney doesn't want me

8    to do this, but I have to tell you what I heard on

9    the radio this morning, that somewhere in America,

10   there's a man who is calling librarians and asking

11   them to read him the Brady decision over the

12   telephone.

13                (Discussion off the record.)

14                THE WITNESS:        Now, having said that, yes,

15        I'm familiar with the Brady rule.

16   BY MR. RUTHER:

17        Q       And you understand that part of your Brady

18   obligation as a prosecutor is if you find out that

19   there are any, any issues with the credibility of

20   any of your witnesses, things that would go to

21   whether your witnesses are telling the truth or




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1    whether they're lying in the case, that that is

2    something that you are obligated to disclose

3    pretrial?

4         A      Uh-huh.

5                MS. SHIFF:       Yes.      Just say yes.

6         A      Yes.    Sorry.

7                MS. SHIFF:       That's okay.         We all do it.

8         A      Well, he's so conversational, just lapse

9    into it.

10        Q      And you also understand that that rule

11   applies, although not legally to any extended degree

12   to anybody else, but it certainly applies to police

13   officers and sheriffs and law enforcement you would

14   call as witnesses in cases, correct?

15               MR. LEDYARD:        Objection.

16        A      Well, there you got me, because I thought

17   the Brady rule only applied to me.

18        Q      No, no, no, and let me rephrase the

19   question.

20        A      I expect the police to tell me about that

21   stuff and then I have to disclose it.




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1            Q      No, no, and I'm sorry that you pointed out

2    that I asked an inartful question.

3            A      No, I'm not trying to be argumentative.

4            Q      You understand that if you find out that a

5    police officer you are going to call as a witness in

6    a case, information comes to you that tells you that

7    that police officer has a problem with their

8    credibility, that is something that you have to

9    disclose as Brady material?

10                  MR. LEDYARD:        Objection.

11           A      Depends.     Oh, I'm sorry.           That's my alarm.

12           Q      Well, then fair enough.              It depends.   Now,

13   let me ask you a more specific question.                   If you had

14   found out that -- let me give you the scenario.                      If

15   an officer comes to with you a case and says

16   Mr. Fili, here's the evidence in the case, perhaps

17   even gives you three ring binders of evidence in a

18   case, and tells you what the case is about, and

19   based on that information, you go and charge that

20   case.       You with me so far?

21           A      Uh-huh.




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1         Q    And then later on, before you get to

2    trial, you find out that the officer didn't tell you

3    certain things that were important to that case or

4    misled you in what that case was about.              That's the

5    sort of thing that you would have to tell the

6    defense attorney as a Brady disclosure?

7              MR. LEDYARD:        Objection.        You can answer.

8              MS. SHIFF:       You can answer.

9         A    I would imagine, depending on how material

10   they were and, you know, whether they are actually

11   exculpable.   There's things that, you know,

12   defendants want to say is exculpable which we may

13   disagree with.

14        Q    Fair enough.        Did there ever come a time

15   in the course of any of the prosecutions of the

16   Plaintiffs in this case, and I know some of them

17   went to trial and some of them didn't, did there

18   ever come a time when you had to make a Brady

19   disclosure because Corporal Blubaugh misled you in

20   any way about what the evidence in the cases were?

21        A    Not that I recall.




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1          Q     Do you recall ever finding anything out

2    about the case that made you say Blubaugh lied to

3    me?

4          A     No.

5          Q     My computer always likes to go to sleep --

6          A     Don't they all.

7          Q     -- at the most inopportune moments.          You

8    were asked some questions by Mr. Ledyard about the

9    distinction between probable cause and beyond a

10   reasonable doubt.        You've been a prosecutor for 38

11   years.    Have you ever charged a case based on

12   probable cause and then lost the case at trial when

13   you had to prove it beyond a reasonable doubt?

14         A     Many times.

15         Q     Have you tried hard cases where it was

16   very difficult to prove the case beyond a reasonable

17   doubt, but you proceeded, anyway?

18         A     Sure.

19         Q     Is there anything unusual in your mind

20   about charging a case because you have probable

21   cause, knowing that it might be a difficult case to




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1    prove down the line when it came to trial and you

2    had to prove it beyond a reasonable doubt?

3         A    I'm sorry.        Repeat that question?

4         Q    I speak way too quickly.               I apologize to

5    you and the court reporter.             Was there anything, is

6    there anything unusual about charging a case based

7    on probable cause that you knew would be difficult

8    to prove at trial when you had to prove it beyond a

9    reasonable doubt?

10        A    No, there's nothing unusual about that.

11             MR. RUTHER:         Give me one second.        I don't

12        have anything else.           Thank you.

13             MS. SHIFF:        Do you have any follow-up?

14                     E X A M I N A T I O N

15   BY MR. LEDYARD:

16        Q    Yeah.     So he sort of opened Pandora's box.

17   You indicated that Corporal Blubaugh, you did not

18   discover that he had lied to you at any moment.                  Is

19   that fair to say?

20        A    No, that's not what I said.               What I said

21   was he, I believe Mr. Ruther asked me if at any time




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1    I thought Deputy Blubaugh had lied to me or misled

2    me, and I said no.

3            Q    Okay.     And did Corporal Blubaugh testify

4    at trial consistent with how he testified in front

5    of the grand jury?

6            A    I don't --

7                 MS. SHIFF:        Objection.

8            A    Oh, right.        I'm not going to answer that.

9                 MS. SHIFF:        Grand jury.

10           A    I'm not going to answer that.

11           Q    So you're instructing him not to answer?

12                MS. SHIFF:        He can't disclose the grand

13           jury contents.

14           Q    Okay.     You indicated that some, there's

15   nothing unusual about prosecuting a case where you

16   obtain probable cause but have a difficult time

17   proving beyond a reasonable doubt.                  How about these

18   cases specifically, was there anything unusual about

19   them?

20           A    Are you aware that the Maryland Pattern

21   Jury Instructions instruct the jury that they are




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1    allowed to believe some, none or all of what they

2    hear, no matter what the State's evidence is?            Are

3    you aware that that is the law in the State of

4    Maryland?

5            Q    I am aware.

6            A    Then what difference does it make?

7            Q    I'm asking a specific question.         Was there

8    anything unusual --

9            A    And that's my specific answer.         The finder

10   of fact, that is a judge in a court trial, or a jury

11   of the defendant's peers is permitted under the law

12   of Maryland to believe some, all or none of what

13   they hear, regardless of how overwhelming or skimpy

14   the State's evidence is.

15           Q    Charlotte Wolf's case was tried before a

16   jury.

17           A    No, it wasn't.

18           Q    Well, I disagree with that.         A jury was

19   empaneled.

20           A    I thought that was, but it was, but the --

21           Q    Judge granted a motion of --




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1           A   Yeah.     There was a jury in that case?

2           Q   There was.

3           A   I thought it was a court trial.              Okay.

4           Q   The second one was a court trial.

5           A   That's right.

6           Q   So that's why I'm saying in order for her

7    to do that, she can't make a finding of fact, so was

8    there anything unusual about these cases?

9           A   You talking about Judge Curtin?

10          Q   That's correct.

11          A   There was nothing unusual about this case

12   that we tried on the record.               The judge, the test

13   for her, I don't recall if she made the judgment of

14   acquittal at the end of the State's case or at the

15   end of all the evidence.            Do you recall which it

16   was?

17          Q   It was the State's case.

18          A   Okay.     So then her judgment at that time

19   would have been, should have been based on the test

20   of is there enough evidence that a reasonable finder

21   of fact could find the defendant guilty beyond a




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1    reasonable doubt.

2         Q    And?

3         A    The test is not does the case lack

4    probable cause.     She found that there wasn't.            I

5    disagreed with that.

6         Q    Okay.     Was there anything unusual?            That

7    was the initial question.

8         A    Unusual?       About what?

9         Q    About the case that would say there's

10   probable cause, but it got a motion for judgment of

11   acquittal at the end of the State's case?

12        A    No.     This case was just like many other

13   cases where there's a disagreement between the State

14   and the finder of fact over whether or not it was

15   beyond a reasonable doubt.            The trial is not the

16   place to find probable cause.               The trial is whether

17   or not we have reached the burden of beyond a

18   reasonable doubt, which means not guilty.               Doesn't

19   mean innocent and it doesn't mean lack of probable

20   cause.

21        Q    Was there any difference in evidence




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1    presented to the tryer of fact in the trial of this

2    case than to the grand jury?

3              MS. SHIFF:        Objection.           Don't answer that.

4         A    I won't answer that question.

5         Q    You indicated that if you're aware of

6    Brady material, you have to turn it over?

7         A    Right.

8         Q    Okay.     But if you're not aware of it, it's

9    hard to make that Brady decision?

10        A    How do you make a decision about something

11   you don't know about?

12        Q    Okay.     Same with whether somebody's

13   telling you the truth or not.               If you don't discover

14   that they lied --

15        A    There are many ways to -- it's not a

16   science, but there are ways to try and ascertain if

17   someone is not telling the truth.

18        Q    But there's not a science to it?

19        A    Right.

20             MR. LEDYARD:         I don't have any further

21        questions.




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1         MR. RUTHER:       I don't have anything else.

2         MS. SHIFF:      Done.       You have the right to

3    read the transcript if you want.

4         THE WITNESS:       Oh, definitely want the

5    transcript.

6         MS. SHIFF:      We'll order.        We would like a

7    copy, and he will read and sign.

8         REPORTER:     Mr. Ruther, do you want a copy?

9         MR. RUTHER:       Absolutely.

10        (The deposition concluded at 1:08 p.m.)

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1              CERTIFICATE OF DEPONENT

2

3         I hereby certify that I have read and examined the

4    foregoing transcript, and the same is a true and

5    accurate record of the testimony given by me.

6              Any additions or corrections that I feel are

7    necessary will be made on the Errata Sheet.

8

9

10                                       ________________________

11                                       Name of Witness

12

13                                       ________________________

14                                       Date

15

16

17

18   (If needed, make additional copies of the Errata Sheet

19   on the next page or use a blank piece of paper.)

20

21




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1                        ERRATA SHEET

2

3    Case:_____________________________

4    Witness:__________________________                Date:_________

5    PAGE/LINE           SHOULD READ               REASON FOR CHANGE

6

7    ______________________________________________________

8    ______________________________________________________

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1                           STATE OF MARYLAND
2                I, Kathryn M. Benhoff, a Notary Public in and
     for the State of Maryland, do hereby certify that the
3    within named SALVATORE D. FILI, ESQUIRE, personally
     appeared before me at the time and place herein set
4    according to the law and was interrogated by counsel.
5                I further certify that the examination was
     recorded stenographically by me and then transcribed
6    from my stenographic notes to the within printed matter
     by means of computer assisted transcription in a true
7    and accurate manner.
8                I further certify that the stipulations
     contained herein were entered into by counsel in my
9    presence.
10               I further certify that I am not of counsel to
     any of the parties, not an employee of counsel, nor in
11   any way related to any of the parties, nor in any way
     interested in the outcome of this action.
12
          AS WITNESS my hand and Notarial Seal this 27th day
13   of July, 2021.
14                          <%18006,Signature%>
15                          Kathryn M. Benhoff, Notary Public
16   My Commission expires October 7th, 2023.
17
18
19
20
21

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1     Wendy Schiff, Esquire

2     wshiff@oag.state.md.us

3                                 July 27, 2021

4     RE:       Ledergerber, Jeffrey Et Al. v. Blubaugh, Justin Et Al.

5           7/22/2021, Salvatore D. Fili , Esq. (#4730742)

6           The above-referenced transcript is available for

7     review.

8           Within the applicable timeframe, the witness should

9     read the testimony to verify its accuracy. If there are

10    any changes, the witness should note those with the

11    reason, on the attached Errata Sheet.

12          The witness should sign the Acknowledgment of

13    Deponent and Errata and return to the deposing attorney.

14    Copies should be sent to all counsel, and to Veritext at

15    cs-midatlantic@veritext.com

16

17     Return completed errata within 30 days from

18   receipt of testimony.

19      If the witness fails to do so within the time

20   allotted, the transcript may be used as if signed.

21

22                      Yours,

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